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     THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE OR REJECTION PRIOR
     TO THE COMMENCEMENT OF THE DEBTORS’ BANKRUPTCY CASES IN ACCORDANCE
     WITH BANKRUPTCY CODE SECTION 1125 AND WITHIN THE MEANING OF BANKRUPTCY
     CODE SECTION 1126. THIS CHAPTER 11 PLAN WILL BE SUBMITTED TO THE BANKRUPTCY
     COURT FOR APPROVAL FOLLOWING THE DEBTORS’ FILING FOR CHAPTER 11
     BANKRUPTCY.



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

 In re:                                                 §     Chapter 11
                                                        §
 FUSE, LLC, et al.,1                                    §     Case No. 19-_____ (___)
                                                        §
                                                        §     Joint Administration Requested
                                   Debtors.             §


             DEBTORS’ PREPACKAGED JOINT PLAN OF REORGANIZATION




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                                                   Debtors-in-Possession

 1
   The Debtors and the last four digits of their taxpayer identification numbers include: Fuse Media, Inc. (9721);
 Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions, LLC (5499); SCN Distributions, LLC (9656);
 Latino Events LLC (8204); Fuse Holdings LLC (5673); Fuse Finance, Inc. (8683); and FM Networks LLC (6500).
 The Debtors’ headquarters and service address is 700 North Central Avenue, Suite 600, Glendale, CA 91203.
 For the avoidance of doubt, Debtors Fuse Media, Inc. and Fuse Media, LLC are not proponents of the Plan and
 the provisions of the Plan shall not extend to those entities.

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            DEBTORS’ PREPACKAGED JOINT PLAN OF REORGANIZATION

         Fuse, LLC and its debtor subsidiaries, as debtors and debtors in possession in the above-
 captioned cases (collectively, the “Debtors”), propose the following prepackaged joint plan of
 reorganization (the “Plan”) for, among other things, the resolution of the outstanding Claims
 against, and Equity Interests in, the Debtors. For the avoidance of doubt, Debtors Fuse Media,
 Inc. and Fuse Media, LLC are not proponents of the Plan and the provisions of the Plan shall
 not extend to those entities.

         Unless otherwise noted, capitalized terms used in this Plan have the meanings set forth in
 Article I of the Plan. The Debtors (excluding Fuse Media, Inc. and Fuse Media, LLC) are the
 proponents of this Plan within the meaning of section 1129 of the Bankruptcy Code. Reference
 is made to the Disclosure Statement (as such term is defined herein and distributed
 contemporaneously herewith) for a discussion of the Debtors’ history, business, results of
 operations, historical financial information, accomplishments leading up to Solicitation of the
 Plan, projections and properties, and for a summary and analysis of this Plan and the treatment
 provided for herein. There also are other agreements and documents that will be Filed with the
 Bankruptcy Court that are referenced in this Plan, the Plan Supplement or the Disclosure
 Statement as Exhibits and Plan Schedules. All such Exhibits and Plan Schedules are
 incorporated into and are a part of this Plan as if set forth in full herein. Subject to the
 requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the
 Debtors reserve the right to alter, amend, modify, revoke or withdraw this Plan prior to its
 Consummation.

         The Plan contemplates deemed substantive consolidation of the Debtors for voting and
 Plan Distribution purposes only with respect to the Claims. If, however, the Plan cannot be
 confirmed as to some or all of the Debtors, then, in the Debtors’ sole discretion and subject to the
 terms set forth herein, (a) the Plan may be revoked as to all of the Debtors, or (b) the Debtors
 may revoke the Plan as to any Debtor (and any such Debtor’s Chapter 11 Case may be converted
 to a chapter 7 liquidation, continued or dismissed in the Debtors’ sole discretion) and confirm the
 Plan as to the remaining Debtors to the extent required. The Debtors intend to seek confirmation
 of the Plan pursuant to the “cram down” provisions contained in section 1129(b) of the
 Bankruptcy Code with respect to any non-accepting Class of Claims or Equity Interests that is
 Impaired as set forth in Article III hereof.

         Notwithstanding any rights of approval that may exist as to the form or substance of the
 Disclosure Statement, the Plan or any other document relating to the transactions contemplated
 hereunder or thereunder, neither the Supporting Noteholders, the Senior Secured Notes Trustee,
 nor their respective representatives, members, financial or legal advisors, or agents, has
 independently verified the information contained herein or takes any responsibility therefor and
 none of the foregoing entities or persons makes any representations or warranties whatsoever
 concerning the information contained herein.

                                     ARTICLE I.
                   RULES OF INTERPRETATION, COMPUTATION OF TIME,
                         GOVERNING LAW AND DEFINED TERMS

 A.       Rules of Interpretation, Computation of Time and Governing Law

        For purposes hereof: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
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 masculine, feminine or neuter gender shall include the masculine, feminine and the neuter
 gender; (b) any reference herein to a contract, lease, instrument, release, indenture or other
 agreement or document being in a particular form or on particular terms and conditions means
 that the referenced document, as previously amended, modified or supplemented, if applicable,
 shall be substantially in that form or substantially on those terms and conditions; (c) any
 reference herein to an existing document or exhibit having been Filed or to be Filed shall mean
 that document or exhibit, as it may thereafter be amended, modified or supplemented; (d) unless
 otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
 Schedules” are references to Articles, Sections, Exhibits and Plan Schedules hereof or hereto;
 (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
 Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
 Articles and Sections are inserted for convenience of reference only and are not intended to be a
 part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
 or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set
 forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
 herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
 Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
 Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the
 United States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing
 any period of time prescribed or allowed herein.

 B.       Defined Terms

       Unless the context otherwise requires, the following terms shall have the following
 meanings when used in capitalized form herein:

                1.      “Accrued Professional Compensation” means, with respect to a particular
 Professional, an Administrative Expense Claim of such Professional for compensation for
 services rendered or reimbursement of costs, expenses or other charges incurred after the Petition
 Date and prior to and including the Effective Date (including, without limitation, expenses of the
 members of any Committee incurred as members thereof in discharge of their duties as such).

                2.      “Administrative Expense Claim” means any Claim against a Debtor for
 costs and expenses of administration of the Chapter 11 Cases that is Allowed pursuant to
 sections 327, 328, 330, 365, 503(b), 507(a)(2), 507(b) or 1114(e)(2) of the Bankruptcy Code,
 including, without limitation, (a) the actual and necessary costs and expenses incurred after the
 Petition Date and through the Effective Date of preserving the Estates and operating the
 businesses of the Debtors; (b) the Accrued Professional Compensation; (c) the Senior Secured
 Notes Trustee Fees; (d) the Restructuring Expenses; and (e) all fees and charges assessed against
 the Estates pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States
 Code.

              3.             “Affiliate” means an “affiliate” as defined in section 101(2) of the
 Bankruptcy Code.

                 4.    “Allowed” means, with respect to any Claim, except as otherwise provided
 herein: (a) a Claim that has been allowed by a Final Order; (b) a Claim that is allowed: (i) in any
 stipulation of amount and nature of Claim executed by the Debtors prior to the Effective Date
 and approved by the Bankruptcy Court; (ii) in any stipulation of amount and nature of Claim
 executed by the Reorganized Debtors on or after the Effective Date; (iii) in accordance with the
 applicable Debtor’s books and records or as set forth in the Schedules, to the extent Filed, subject
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 to any limitations on allowance imposed by section 502 of the Bankruptcy Code; (c) a Claim
 relating to a rejected executory contract or unexpired lease that either (i) is not a Disputed Claim
 or (ii) has been allowed by a Final Order, in either case only if a Proof of Claim has been timely
 Filed by the Claimant before the applicable bar date for such claim or has otherwise been
 deemed timely Filed under applicable law; or (d) a Claim that is Allowed pursuant to the terms
 of this Plan. For the avoidance of doubt, notwithstanding anything to the contrary contained
 herein, there shall be no requirement that the Senior Secured Notes Trustee file a Proof of Claim
 on behalf of the Holders of the Senior Secured Notes Claims in respect of the Senior Secured
 Notes Claims; provided, that the Senior Secured Notes Trustee is authorized, but not directed, to
 file in the Chapter 11 Cases, a single master proof of claim on behalf of itself and the Holders of
 the Senior Secured Notes Claims on account of any and all Claims arising under the Senior
 Secured Notes Indenture.

                 5.     “Allowed Claim or Equity Interest” means a Claim or Equity Interest of
 the type that has been Allowed.

                  6.      “Assets” means all of the right, title, and interest of a Debtor in and to
 property of whatever type or nature (including, without limitation, real, personal, mixed,
 intellectual, tangible, and intangible property).

                 7.      “Avoidance Actions” means any and all avoidance, recovery,
 subordination or other actions or remedies that may be brought by and on behalf of the Debtors
 or their Estates under the Bankruptcy Code or applicable nonbankruptcy law, including, without
 limitation, actions or remedies arising under sections 502, 510 or 542-553 of the Bankruptcy
 Code. For the avoidance of doubt and notwithstanding anything to the contrary herein,
 “Avoidance Actions” shall not include any actions or remedies arising under sections 542-553 of
 the Bankruptcy Code which may be pursued against the Debtors’ current and former directors
 and officers, or their employers or affiliates.

                8.      “Ballots” means the ballots accompanying the Disclosure Statement upon
 which certain Holders of Impaired Claims entitled to vote shall, among other things, indicate
 their acceptance or rejection of this Plan, which includes the Master Ballots and Beneficial
 Holder Ballots.

               9.    “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Cases.

                 10.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 District of Delaware, or any other court having jurisdiction over the Chapter 11 Cases.

                 11.   “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
 and the Local Rules of the Bankruptcy Court, in each case as amended from time to time and as
 applicable to the Chapter 11 Cases.

               12.     “Beneficial Holder” means, as of the applicable date of determination, a
 beneficial owner of the Senior Secured Notes as reflected in the records maintained by the
 Registered Record Owner, or Intermediary Record Owner, as applicable.

                13.   “Beneficial Holder Ballots” means the ballots accompanying the
 Disclosure Statement upon which Beneficial Holders of Senior Secured Notes Claims entitled to

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 vote shall, among other things, indicate their acceptance or rejection of the Plan in accordance
 with the Plan and the procedures governing the solicitation process.

                14.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                15.          “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

               16.     “Cash Collateral Order” means the Final Order (A) Authorizing the
 Debtors to Use Cash Collateral, (B) Granting Adequate Protection, and (C) Modifying the
 Automatic Stay, entered by the Bankruptcy Court in the Chapter 11 Cases in a form acceptable to
 the Supporting Noteholders and the Senior Secured Notes Trustee.

                 17.      “Causes of Action” means any action, claim, cross-claim, third-party
 claim, cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known,
 unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
 liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect,
 choate or inchoate, secured or unsecured, assertable directly or derivatively (including, without
 limitation, under alter ego theories), whether arising before, on, or after the Petition Date, in
 contract or in tort, in law or in equity or pursuant to any other theory of law. For the avoidance
 of doubt, Cause of Action includes: (a) any right of setoff, counterclaim or recoupment and any
 claim for breach of contract or for breach of duties imposed by law or in equity; (b) the right to
 object to Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the
 Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress and usury, and any
 other defenses set forth in section 558 of the Bankruptcy Code; and (e) any claims under any
 state or foreign law, including, any Avoidance Actions (except as otherwise limited herein).

                 18.    “Chapter 11 Cases” means, with respect to a Debtor, such Debtor’s case
 under chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy
 Court, jointly administered with all other Debtors’ cases under chapter 11 of the Bankruptcy
 Code, and styled In re Fuse, LLC, et al., Case No. 19-[______ (___)].

                19.     “Claim” means any “claim” against any Debtor as defined in
 section 101(5) of the Bankruptcy Code.

                   20.       “Claims Register” means the official register of Claims maintained by the
 Voting Agent.

                 21.      “Class” means a category of Holders of Claims or Equity Interests as set
 forth in Article III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                 22.      “Collateral” means any property or interest in property of any Debtor’s
 Estate that is subject to a valid and enforceable Lien to secure a Claim.

               23.    “Committee” means any committee of unsecured creditors in the Chapter
 11 Cases appointed pursuant to section 1102 of the Bankruptcy Code.


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                24.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                25.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                26.    “Confirmation Order” means the order of the Bankruptcy Court both
 confirming this Plan pursuant to section 1129 of the Bankruptcy Code and approving the
 Disclosure Statement.
                27.          “Consummation” or “Consummated” means the occurrence of the
 Effective Date.

                 28.    “Credit Agreement” means that certain credit agreement to be executed by
 and among Operating Subsidiary, as the borrower, Reorganized Parent and certain of its
 subsidiaries, as guarantors, and an administrative agent and the lenders identified from time to
 time thereto.

               29.    “Debtor(s)” means, individually, Fuse, LLC; JAAM Productions, LLC;
 SCN Distributions, LLC; Latino Events LLC; Fuse Holdings LLC; Fuse Finance, Inc.; and FM
 Networks LLC, in each case, in their capacities as debtors in the Chapter 11 Cases. For the
 avoidance of doubt, Debtors Fuse Media, Inc. and Fuse Media, LLC are not proponents of the
 Plan and the provisions of the Plan shall not extend to those entities.

                30.     “Debtor(s) in Possession” means, individually, each Debtor, as debtor in
 possession in their Chapter 11 Cases as of the Petition Date and, collectively, all Debtors, as
 debtors in possession in the Chapter 11 Cases.

               31.    “Deficiency Claim” means the unsecured deficiency Claim arising under
 the Senior Secured Notes.

                   32.       “Disallowed” means any Claim that is not Allowed.

                33.     “Disclosure Statement” means that certain Disclosure Statement for
 Debtors’ Prepackaged Joint Plan of Reorganization, as amended, supplemented, or modified
 from time to time and describes this Plan, including all exhibits and schedules thereto and
 references therein that relate to this Plan.

                34.     “Disputed” means, with respect to a Claim, (a) any Claim, which Claim is
 disputed under Article IX of this Plan or as to which the Debtors have interposed and not
 withdrawn an objection or request for estimation that has not been determined by a Final Order;
 (b) any Claim, proof of which was required to be Filed by order of the Bankruptcy Court but as
 to which a proof of claim was not timely or properly Filed; (c) any Claim that is listed in the
 Schedules, if any are Filed, as unliquidated, contingent or disputed, and as to which no request
 for payment or proof of claim has been Filed; or (d) any Claim that is otherwise disputed by any
 of the Debtors or Reorganized Debtors in accordance with applicable law or contract, which
 dispute has not been withdrawn, resolved or overruled by a Final Order. To the extent the
 Debtors dispute only the amount of a Claim, such Claim shall be deemed Allowed in the amount
 the Debtors do not dispute, if any, and Disputed as to the balance of such Claim.

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              35.     “Distribution Agent” means Reorganized Parent or any party designated
 by Reorganized Parent to serve as distribution agent under this Plan.

                36.     “Distribution Record Date” means the date for determining which Holders
 of Claims are eligible to receive distributions hereunder, as such date shall be fixed by order of
 the Bankruptcy Court.

                37.      “D&O Liability Insurance Policies” means all insurance policies for
 directors’ and officers’ liability maintained by the Debtors as of the Petition Date, including tail
 coverage with a term of at least six (6) years from and after the termination of any such policies
 and containing the same coverage that exists under such policies as of the Effective Date.
                   38.       “DTC” means the Depository Trust Company.

                39.     “Effective Date” means the Business Day that this Plan becomes effective
 as provided in Article X hereof.

              40.            “Entity” means an “entity” as defined in section 101(15) of the
 Bankruptcy Code.

                  41.    “Equity Interest” means any Equity Security in any Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding shares of stock or limited
 company interests, together with (i) any options, warrants or contractual rights to purchase or
 acquire any such Equity Securities at any time with respect to such Debtor, and all rights arising
 with respect thereto and (ii) the rights of any Entity to purchase or demand the issuance of any of
 the foregoing and shall include: (1) conversion, exchange, voting, participation, and dividend
 rights; (2) liquidation preferences; (3) options, warrants, and put rights; and (4) stock-
 appreciation rights. The term “Equity Interest” also includes any Claim that has been
 subordinated to the status of an Equity Security.

               42.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                43.    “Estates” means the bankruptcy estates of the Debtors created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Cases.

                 44.    “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C.
 §§ 78a et seq., as now in effect or hereafter amended, and the rules and regulations promulgated
 thereunder, and any similar federal, state or local law.

                 45.    “Exculpated Parties” means, collectively: (a) the Debtors, (b) the
 Reorganized Debtors, (c) the Supporting Noteholders, (d) the Senior Secured Notes Trustee, (e)
 the Fuse Litigation Trust, (f) the Litigation Trust Oversight Committee, (f) the Litigation Trustee,
 and (g) the respective Related Persons of each of the foregoing Entities.

                   46.       “Exculpation” means the exculpation provision set forth in Article X.B
 hereof.

                 47.    “Executory Contract” means a contract to which any Debtor is a party that
 is subject to assumption or rejection under section 365 of the Bankruptcy Code.

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               48.     “Exhibit” means an exhibit annexed hereto, to the Plan Supplement or as
 an appendix to the Disclosure Statement (as such exhibits are amended, modified or otherwise
 supplemented from time to time), which are incorporated by reference herein.

              49.      “File” or “Filed” or “Filing” means file, filed or filing with the
 Bankruptcy Court or its authorized designee in the Chapter 11 Cases.

                50.       “Final Order” means an order of the Bankruptcy Court, which is in full
 force and effect and has not been reversed, modified or amended, that is not stayed, and to which
 the time to appeal, petition for certiorari, or move for a new trial, reargument or rehearing has
 expired and as to which no appeal, petition for certiorari, or other proceedings for a new trial,
 reargument or rehearing shall then be pending or as to which any right to appeal, petition for
 certiorari, new trial, reargument, or rehearing shall have been waived in writing in form and
 substance satisfactory to the Debtors or the Reorganized Debtors and the Supporting
 Noteholders, or, in the event that an appeal, writ of certiorari, new trial, reargument, or rehearing
 thereof has been sought, no stay pending appeal has been granted or such order of the
 Bankruptcy Court shall have been determined by the highest court to which such order was
 appealed, or certiorari, new trial, reargument or rehearing shall have been denied and the time to
 take any further appeal, petition for certiorari, or move for a new trial, reargument or rehearing
 shall have expired; provided, however, that the possibility that a motion under Rule 60 of the
 Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be
 Filed with respect to such order shall not preclude such order from being a Final Order.

                51.    “Fuse Litigation Trust” means the trust established pursuant to the
 Litigation Trust Agreement.

                 52.   “General Unsecured Claim” means any Claim against any Debtor,
 including the Deficiency Claim, that is not a/an: (a) Administrative Expense Claim; (b) Priority
 Tax Claim; (c) Other Priority Claim; (d) Other Secured Debt Claim; (e) Senior Secured Notes
 Claim; (f) Intercompany Claim, or (g) Equity Interest.

               53.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

                 54.    “Holder” means an Entity holding a Claim against, or Equity Interest in,
 any Debtor and, with respect to the Senior Secured Notes Claims, the Beneficial Holder thereof
 as of the applicable date of determination or any authorized agent of such Entity who has
 completed and executed a Ballot or on whose behalf a Master Ballot has been completed and
 executed in accordance with the voting instructions that are attached to the Ballot or Master
 Ballot, as applicable.

               55.     “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                 56.     “Indemnification Provision” means each of the indemnification provisions
 currently in place (whether in the bylaws, certificates of incorporation, board resolutions,
 employment contracts or otherwise) for the current and former directors, officers, employees,
 attorneys, other professionals and agents of the Debtors who served in such capacity on or any
 time after the Petition Date.

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                 57.      “Initial Distribution Date” means, subject to the “Treatment” sections in
 Article III hereof, the date that is as soon as reasonably practicable after the Effective Date, when
 distributions under this Plan shall commence to Holders of Allowed Claims.

                58.   “Intercompany Claim” means any Claim of a Debtor against any other
 Debtor. Intercompany Claims are extinguished by virtue of the substantive consolidation of the
 Debtors for allowance and distribution purposes under the Plan.

                59.    “Intermediary Record Owners” means, as of the applicable date of
 determination, the banks, brokerage firms, or the agents thereof as the Entity through which the
 Beneficial Holders hold Senior Secured Notes.
               60.     “Key Employee Retention Agreements” means the (i) the individual key
 employee retention plan 1 bonus agreement to be entered into by and among the Reorganized
 Debtors and certain key employees of the Reorganized Debtors, (ii) Fuse, LLC Sale Bonus Plan
 and the award agreements entered into thereunder, and (iii) Fuse, LLC Retention Plan 2 and the
 award agreements entered into thereunder, in each case, the form of which is included in the Plan
 Supplement in form and substance satisfactory to the Supporting Noteholders.

                61.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy
 Code and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge,
 charge, security interest or other encumbrance of any kind, or any other type of preferential
 arrangement that has the practical effect of creating a security interest, in respect of such asset.

                62.      “Litigation Claims” means the claims, rights of action, suits or
 proceedings, whether in law or in equity, whether known or unknown, that any Debtor or Estate
 may hold against any Entity, including any and all Causes of Action of the Debtors (other than
 Claims in the nature of setoff or recoupment and except as otherwise limited herein), including,
 but not limited to, any and all Causes of Action against AT&T Services, Inc., DirecTV, LLC,
 and each of their respective Related Persons.

                63.     “Litigation Trust Oversight Committee” means the committee formed
 pursuant to Article VI.C of the Plan to, among other things, select the Litigation Trustee, oversee
 the Fuse Litigation Trust, the work of the Litigation Trustee and the prosecution of the Litigation
 Claims.

                 64.      “Litigation Trust Agreement” means that certain agreement made by and
 among the Debtors, as depositor of the Litigation Claims, and the Litigation Trustee, establishing
 and delineating the terms and conditions of the Fuse Litigation Trust, substantially in the form to
 be filed as part of the Plan Supplement.

                 65.    “Litigation Trust Assets” means all assets held from time to time by the
 Fuse Litigation Trust (including the Litigation Claims), the proceeds of which shall be
 distributed to the Holders of Litigation Trust Interests on a Pro Rata basis after payment in full of
 any and all Litigation Trust Expenses.

               66.   “Litigation Trust Beneficiaries” means the Holders of Allowed Senior
 Secured Notes Claims.



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                67.     “Litigation Trust Expenses” means the fees and expenses of the Litigation
 Trustee, including, without limitation, professional fees and expenses incurred in connection
 with the prosecution of the Litigation Claims.

                 68.    “Litigation Trust Interests” means the interests to be issued to the Holders
 of Allowed Senior Secured Notes Claims evidencing their interests in the Fuse Litigation Trust
 and the right to receive Pro Rata distributions therefrom as set forth in the Litigation Trust
 Agreement.

              69.    “Litigation Trustee” means that Person selected by the Litigation Trust
 Oversight Committee to act as the trustee of the Fuse Litigation Trust or any of his, hers or its
 successors.

                70.    “Local Rules” means the Local Rules of Bankruptcy Practice and
 Procedure of the United States Bankruptcy Court for the District of Delaware.

                71.     “Master Ballots” means the ballot distributed to the Registered Record
 Owners or Intermediary Record Owners, as applicable, of the Senior Secured Notes to record the
 votes of the Beneficial Holders of the Senior Secured Notes as of the Voting Record Date
 applicable to Senior Secured Notes Claims.

                 72.    “Moelis Sellside Engagement Letter” means that engagement letter dated
 prior to the Petition Date, as amended and supplemented, by and between Fuse, LLC and Moelis
 & Company LLC, which shall become effective on or after the Effective Date.

                   73.       “New Board” means the initial board of managers of Reorganized Parent.

              74.     “New Membership Interests” means the new membership interests in
 Reorganized Parent to be issued on the Effective Date pursuant to the New Organizational
 Documents of Reorganized Parent.

                 75.     “New Operating Agreement” means that certain operating agreement of
 the Reorganized Parent to be entered into by the holders of New Membership Interests, which
 shall be included in the Plan Supplement in substantially final form and in form and substance as
 mutually agreed to between the Debtors and the Supporting Noteholders. For the avoidance of
 doubt, and notwithstanding anything to the contrary contained herein, the New Operating
 Agreement shall provide, among other things, that (i) in the event of a sale of the Reorganized
 Debtors to a third party, including a sale to any shareholder of the Reorganized Debtors, the
 Reorganized Debtors shall have the right to drag along all shareholders and each shareholder
 shall have the right to tag along in connection with any such sale, and (ii) with respect to any sale
 to a third party by any shareholder of the Reorganized Debtors of all or a portion of the
 Reorganized Debtors’ shares, all other shareholders of the Reorganized Debtors will have tag
 along rights, provided however, that such tag along rights shall only be triggered in a sale or a
 series of sales by such selling shareholder that are with respect to more than 5% of the issued and
 outstanding shares or interests of the Reorganized Debtors in the aggregate.

                76.    “New Organizational Documents” means the New Operating Agreement
 and other applicable organizational documents of Reorganized Parent to be Filed with the Plan
 Supplement, in each case, in substantially final form and in form and substance as mutually
 agreed to between the Debtors and the Supporting Noteholders.

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                77.     “New Secured Debt” means a new first lien term loan in the amount of
 Forty-Five Million Dollars ($45,000,000) that will be owed by the Reorganized Debtors to the
 holders of the Senior Secured Notes Claims pursuant to the New Secured Debt Documents.

                78.    “New Secured Debt Documents” means the Credit Agreement governing
 the New Secured Debt and the related notes, guarantees, and security documents, as the case may
 be, each in form and substance mutually agreed between the Debtors and the Supporting
 Noteholders, which shall be included in the Plan Supplement.

                79.     “Operating Subsidiary” means Fuse, LLC, as reorganized pursuant to this
 Plan on or after the Effective Date.
               80.    “Ordinary Course Professionals Order” means any Order approving the
 motion to employ ordinary course professionals to be Filed on or after the Petition Date in the
 Chapter 11 Cases.

                 81.     “Other Priority Claim” means any Claim against a Debtor accorded
 priority in right of payment under section 507(a) of the Bankruptcy Code, other than a Priority
 Tax Claim or an Administrative Expense Claim.

                82.   “Other Secured Debt Claim” means any Secured Claim against a Debtor
 other than an Administrative Expense Claim or Senior Secured Notes Claim.

                 83.     “Person” means a “person” as defined in section 101(41) of the
 Bankruptcy Code and also includes any natural person, corporation, general or limited
 partnership, limited liability company, firm, trust, association, government, governmental agency
 or other Entity, whether acting in an individual, fiduciary or other capacity.

               84.           “Petition Date” means the date on which the Debtors commenced the
 Chapter 11 Cases.

                  85.     “Plan” means this Debtors’ Prepackaged Joint Plan of Reorganization,
 including the Exhibits and Plan Schedules and all supplements, appendices, and schedules
 thereto, either in its present form or as the same may be altered, amended, modified or otherwise
 supplemented from time to time.

                86.   “Plan Distribution” means the payment or distribution of consideration to
 holders of Allowed Claims and Equity Interests under this Plan.

                87.     “Plan Documents” means any of the documents, other than this Plan, to be
 executed, delivered, assumed, or performed in connection with the occurrence of the Effective
 Date, including, without limitation, the documents to be included in the Plan Supplement, the
 New Operating Agreement, the New Secured Debt Documents, the Litigation Trust Agreement,
 and the Key Employee Retention Agreements, in each case, subject to the approval of the
 Supporting Noteholders.

                88.     “Plan Schedule” means a schedule annexed to either the Plan Supplement
 or as an appendix to the Disclosure Statement (as amended, modified or otherwise supplemented
 from time to time), or Filed as part of the Plan Supplement.


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                 89.      “Plan Supplement” means, collectively, the compilation of documents and
 forms of documents, and all exhibits, attachments, schedules, agreements, documents and
 instruments referred to therein, ancillary or otherwise, including, without limitation, the Exhibits,
 Plan Documents and Plan Schedules, all of which are incorporated by reference into, and are an
 integral part of, this Plan, as all of the same may be amended, modified, replaced and/or
 supplemented from time to time, which shall be Filed with the Bankruptcy Court on or before
 five (5) Business Days prior to the Confirmation Hearing.

                 90.    “Postpetition” means the time period beginning immediately upon the
 filing of the Chapter 11 Cases and ending on the Effective Date.
                91.    “Priority Tax Claim” means any Claim of a Governmental Unit against a
 Debtor of the kind specified in section 507(a)(8) of the Bankruptcy Code.

                 92.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim
 in a particular Class (or several Classes taken as a whole) bears to (b) the aggregate Allowed
 amount of all Claims in such Class (or several Classes taken as a whole), unless this Plan
 provides otherwise.

                93.    “Professional” means (a) any Entity employed in the Chapter 11 Cases
 pursuant to section 327, 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Cases
 pursuant to section 503(b)(4) of the Bankruptcy Code.

               94.     “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code for Accrued Professional Compensation.

                95.   “Proof of Claim” means a proof of Claim or Equity Interest Filed against
 any Debtor in the Chapter 11 Cases.

                96.    “Registered Record Owners” means, as of the applicable date of
 determination, the Holders of Senior Secured Notes on the books and records of DTC.

                 97.    “Reinstated” means, with respect to any Claim, (a) leaving unaltered the
 legal, equitable, and contractual rights to which a Claim entitles the holder of such Claim in
 accordance with Section 1124 of the Bankruptcy Code or (b) notwithstanding any contractual
 provision or applicable law that entitles the holder of such Claim to demand or receive
 accelerated payment of such Claim after the occurrence of a default: (i) curing any such default
 that occurred before or after the Petition Date, other than a default of a kind specified in
 section 365(b)(2) of the Bankruptcy Code or of a kind that section 365(b)(2) of the Bankruptcy
 Code expressly does not require to be cured; (ii) reinstating the maturity of such Claim as such
 maturity existed before such default; (iii) compensating the holder of such Claim for any
 damages incurred as a result of any reasonable reliance by such Holder on such contractual
 provision or such applicable law; (iv) if such Claim arises from any failure to perform a non-
 monetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder
 of such Claim (other than any Debtor or an insider of any Debtor) for any actual pecuniary loss
 incurred by such Holder as a result of such failure; and (v) not otherwise altering the legal,
 equitable, or contractual rights to which such Claim entitles the Holder of such Claim.


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                98.     “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns and present and former Affiliates (whether by operation of law
 or otherwise) and subsidiaries, and each of their respective current and former officers, directors,
 principals, employees, employers, shareholders, members (including ex officio members),
 general partners, limited partners, agents, managers, managing members, financial advisors,
 attorneys, accountants, investment bankers, investment advisors, consultants, representatives,
 and other professionals, in each case acting in such capacity at any time, and any Person
 claiming by or through any of them.

                99.     “Release” means the release given by the Releasing Parties to the
 Released Parties as set forth in Article XI.B hereof.
                 100. “Released Party” means, collectively, each in its capacity as such: (a) the
 Debtors; (b) the Debtors’ current and former directors and officers; (c) the Reorganized Debtors;
 (d) the Senior Secured Notes Trustee; (e) the Supporting Noteholders; (f) the Holders of the
 Senior Secured Notes Claims who vote in favor of the Plan; and (g) the Related Persons of each
 of (a) through (f) of the foregoing.

                   101.      “Releasing Party” has the meaning set forth in Article XI.B hereof.

                102. “Reorganized Debtors” means (i) the Reorganized Parent, (ii) the
 Operating Subsidiary and (iii) each other Debtor, as reorganized pursuant to this Plan on or after
 the Effective Date. For the avoidance of doubt, Debtors Fuse Media, Inc. and Fuse Media,
 LLC are not Reorganized Debtors.

                103. “Reorganized Parent” means Fuse Holding, LLC, a newly created limited
 liability company to be formed pursuant to this Plan on or prior to the Effective Date.
 Reorganized Parent is not a Debtor under these Chapter 11 Cases.

                104. “Restructuring” means the financial restructuring of the Debtors, the
 principal terms of which are set forth in this Plan, the Disclosure Statement, and the Plan
 Supplement.

                 105. “Restructuring Expenses” means the documented reasonable fees and
 expenses incurred by the Supporting Noteholders in connection with the Restructuring, the
 Supporting Noteholders Professional Reimbursement Letters, and any documentation relating
 thereto, including, without limitation, the fees and expenses of (a) Fried, Frank, Harris, Shriver &
 Jacobson LLP; (b) Moelis & Company; (c) Richards, Layton & Finger, PA (in each case, as
 counsel or financial advisor to certain of the Supporting Noteholders); and (d) any other advisor
 to the Supporting Noteholders, as approved by the Debtors, in each case, payable without the
 requirement for the filing of retention applications, fee applications, or any other applications in
 the Chapter 11 Cases, which shall be Allowed in full as Administrative Expense Claims upon
 incurrence and shall not be subject to any offset, defense, counterclaim, reduction, or credit.

                106. “Restructuring Transactions” means one or more transactions pursuant to
 section 1123(a)(5)(D) of the Bankruptcy Code to occur on the Effective Date or as soon as
 reasonably practicable thereafter that may be necessary or appropriate to effect any transaction
 described in, approved by, contemplated by, or necessary to effectuate the Plan, including (a) the
 execution and delivery of appropriate agreements or other documents containing terms that are
 consistent with or reasonably necessary to implement the terms of this Plan and that satisfy the
 requirements of applicable law; (b) the execution and delivery of appropriate instruments of
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 transfer, assignment, assumption, or delegation of any property, right, liability, duty, or
 obligation on terms consistent with the terms of the Plan and the Plan Documents; and (c) all
 other actions that the Debtors or Reorganized Debtors, as applicable, determine are necessary or
 appropriate and consistent with the Plan and the Plan Documents.

                 107. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtors with the Bankruptcy Court.

                   108.      “SEC” means the Securities and Exchange Commission, or any successor
 agency.
                 109. “Secured Claim” means a Claim that is secured by a Lien on property in
 which any Debtor’s Estate has an interest or that is subject to setoff under section 553 of the
 Bankruptcy Code, to the extent of the value of the Claim holder’s interest in such Estate’s
 interest in such property or to the extent of the amount subject to setoff, as applicable, as
 determined pursuant to section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant
 to section 553 of the Bankruptcy Code.

                110. “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77c-77aa,
 as now in effect or hereafter amended, and the rules and regulations promulgated thereunder, and
 any similar federal, state or local law.

               111. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

               112. “Senior Secured Notes” means, collectively, the 10.375% Senior Secured
 Notes due 2019 issued by Fuse, LLC (formerly known as SiTV, LLC) and Fuse Finance, Inc.
 (formerly known as SiTV Financing, Inc.) pursuant to the Senior Secured Notes Indenture.

                 113. “Senior Secured Notes Claims” means all Claims against a Debtor arising
 under or relating to (a) the Senior Secured Notes and/or the Senior Secured Notes Indenture, and
 (b) all agreements and instruments relating to the foregoing (including, but not limited to, any
 guarantees with respect thereto) that remain unpaid and outstanding as of the Effective Date.

                 114. “Senior Secured Notes Indenture” means the Indenture dated as of July 1,
 2014, pursuant to which the Senior Secured Notes were issued, as amended, waived,
 supplemented, refinanced or as otherwise modified from time to time, among Fuse, LLC
 (formerly known as SiTV, LLC) and Fuse Finance, Inc. (formerly known as SiTV Finance, Inc.),
 as issuers, certain guarantors, and the Senior Secured Notes Trustee.

                115. “Senior Secured Notes Trustee” means Wilmington Trust, National
 Association, in its capacity as indenture trustee and collateral agent under the Senior Secured
 Notes Indenture, or any successor trustee.

                116. “Senior Secured Notes Trustee Charging Lien” means any Lien or other
 priority in payment to which the Senior Secured Notes Trustee is entitled under the terms of the
 Senior Secured Notes Indenture to assert against distributions to be made to Beneficial Holders
 under such Senior Secured Notes Indenture.


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                117. “Senior Secured Notes Trustee Fees” means the reasonable fees and
 unpaid out-of-pocket costs and expenses incurred by the Senior Secured Notes Trustee through
 the Effective Date in accordance with the Senior Secured Notes Indenture and the Cash
 Collateral Order, including, without limitation, the fees and expenses of (a) Wilmer Cutler
 Pickering Hale and Dorr LLP and (b) local counsel retained by the Senior Secured Notes
 Trustee, payable without the requirement for the filing of retention applications, fee applications,
 or any other applications in the Chapter 11 Cases, which shall be Allowed in full as
 Administrative Expense Claims upon incurrence and shall not be subject to any offset, defense,
 counterclaim, reduction, or credit.

                118. “Solicitation” means the solicitation of votes of those parties entitled to
 vote to accept or reject the Plan.

                 119. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and
 owner-builder sales), privilege taxes (including, without limitation, privilege taxes on
 construction contracting with regard to speculative builders and owner builders), and other
 similar taxes imposed or assessed by any Governmental Unit.

                  120. “Supporting Noteholders” means the following Holders of the Senior
 Secured Notes, each in its capacity as the beneficial holder of the Senior Secured Notes or in its
 capacity as investment advisor, investment manager of, or advisor or subadvisor to, certain
 fund(s) and account(s) that are beneficial holders of the Senior Secured Notes: (a) Amzak
 Capital Management, LLC, (b) Ascribe III Investments LLC, (c) ICE Canyon LLC, on behalf of
 its participating clients, (d) Millstreet Capital Management LLC, as investment manager on
 behalf of multiple noteholders, and (e) Phoenix Investment Advisor LLC.

                121. “Supporting Noteholders Professionals” mean (a) Fried, Frank, Harris,
 Shriver & Jacobson LLP; (b) Moelis & Company; (c) Richards, Layton & Finger, PA and (d)
 any other advisor to Supporting Noteholders as approved by the Debtors.

                 122. “Supporting Noteholders Professional Reimbursement Letters” means that
 certain (a) reimbursement agreement dated as of December 21, 2018, as amended and
 supplemented, by and between the Debtors and Fried, Frank, Harris, Shriver, & Jacobson, LLP;
 (b) reimbursement agreement dated as of January 10, 2019, as amended and supplemented, by
 and between the Debtors and Moelis & Company and (c) any reimbursement agreement, as
 amended and supplemented, by and between the Debtors and Richards Layton & Finger, PA.

                 123. “Transfer” means, with respect to any security or the right to receive a
 security or to participate in any offering of any security, (i) the sale, transfer, pledge,
 hypothecation, encumbrance, assignment, constructive sale, participation in, or other disposition
 of such security or right or the beneficial ownership thereof, (ii) the offer to make such a sale,
 transfer, constructive sale, or other disposition, and (iii) each option, agreement, arrangement, or
 understanding, whether or not in writing and whether or not directly or indirectly, to effect any of
 the foregoing. The term “constructive sale” for purposes of this definition means (i) a short sale
 with respect to such security or right, (ii) entering into or acquiring an offsetting derivative
 contract with respect to such security or right, (iii) entering into or acquiring a futures or forward
 contract to deliver such security or right, or (iv) entering into any transaction that has
 substantially the same effect as any of the foregoing. The term “beneficially owned” or
 “beneficial ownership” as used in this definition shall include, with respect to any security or
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 right, the beneficial ownership of such security or right by a Person and by any direct or indirect
 subsidiary of such Person.

                124. “Unexpired Lease” means a lease to which any Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 125. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                   126.      “Voting Agent” means Kurtzman Carson Consultants LLC and any
 successor.
                   127.      “Voting Class” means Class 3 under this Plan.

                128. “Voting Record Date” means the date for determining which Holders of
 Claims are entitled to receive the Disclosure Statement and vote to accept or reject this Plan,
 which date is April 5, 2019, for all Holders of Claims in the voting class.

                                       ARTICLE II.
                          ADMINISTRATIVE AND PRIORITY TAX CLAIMS

 A.       Administrative Expense Claims

          On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim will receive, in full
 satisfaction, settlement, discharge and release of, and in exchange for, such Claim either (i)
 payment in full in Cash for the unpaid portion of such Allowed Administrative Expense Claim;
 or (ii) such other less favorable treatment as agreed to in writing by the Debtors or Reorganized
 Debtors, as applicable, and such Holder; provided, however, that Administrative Expense Claims
 incurred by the Debtors in the ordinary course of business may be paid in the ordinary course of
 business in the discretion of the Debtors or Reorganized Debtors in accordance with such
 applicable terms and conditions relating thereto without further notice to or order of the
 Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a) shall be paid as such
 fees become due.

         Professional Fee Claims. Professionals or other Entities asserting a Professional Fee
 Claim for services rendered through the Effective Date must File, within thirty (30) days after the
 Effective Date, and serve on the Reorganized Debtors and such other Entities who are designated
 by the Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court an
 application for final allowance of such Professional Fee Claim; provided that the Reorganized
 Debtors will pay Professionals in the ordinary course of business, for any work performed after
 the Effective Date, including those fees and expenses incurred by Professionals in connection
 with the implementation and consummation of the Plan, in each case without further application
 or notice to or order of the Bankruptcy Court in full, in Cash, in such amounts as are Allowed by
 the Bankruptcy Court in accordance with the order(s) relating to or allowing any such Fee Claim;
 provided, further, that any professional who may receive compensation or reimbursement of
 expenses pursuant to the Ordinary Course Professionals Order may continue to receive such
 compensation and reimbursement of expenses for services rendered before the Effective Date,
 without further Bankruptcy Court order, pursuant to the Ordinary Course Professionals Order.

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        Objections to any Professional Fee Claim must be Filed and served on the Reorganized
 Debtors and the requesting party fourteen (14) days after the Filing of the applicable request for
 payment of the Professional Fee Claim. Each Holder of an Allowed Professional Fee Claim will
 be paid by the Reorganized Debtors in Cash within five (5) Business Days of entry of the order
 approving such Allowed Professional Fee Claim.

         Restructuring Expenses and Senior Secured Notes Trustee Fees . The fees and expenses
 incurred by the Supporting Noteholder Professionals and the Senior Secured Notes Trustee Fees
 will be paid in connection with this Plan or any applicable orders entered by the Bankruptcy
 Court, including, as applicable, the Cash Collateral Order, on the Effective Date or as soon as
 reasonably practicable thereafter. Nothing herein shall require such professionals (or the Senior
 Secured Notes Trustee) to file applications with, or otherwise seek approval of, the Bankruptcy
 Court as a condition to the payment of such fees and expenses.

 B.       Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtors or
 Reorganized Debtors: (a) Cash in an amount equal to the amount of such Allowed Priority Tax
 Claim; or (b) such other less favorable treatment as agreed to in writing by the Debtors or
 Reorganized Debtors, as applicable, and such Holder. Payment of statutory fees due pursuant to
 28 U.S.C. § 1930(a)(6) will be made at all appropriate times until the entry of a final decree or
 order converting or dismissing the Chapter 11 Cases provided, however, that the Debtors may
 prepay any or all such Claims at any time, without premium or penalty.

                                           ARTICLE III.
                               CLASSIFICATION AND TREATMENT OF
                             CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are placed in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have not been
 classified as described in Article III, Section B of the Plan.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, voting, confirmation and distribution
 pursuant to the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The
 Plan deems a Claim or Equity Interest to be classified in a particular Class only to the extent that
 the Claim or Equity Interest qualifies within the description of that Class and will be deemed
 classified in a different Class to the extent that any remainder of such Claim or Equity Interest
 qualifies within the description of such different Class. A Claim or Equity Interest is in a
 particular Class only to the extent that any such Claim or Equity Interest is Allowed in that Class
 and has not been paid, released or otherwise settled prior to the Effective Date.



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          Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                            Status           Voting Rights
  1         Other Priority Claims                            Unimpaired       Deemed to Accept
  2         Other Secured Debt Claims                        Unimpaired       Deemed to Accept
  3         Senior Secured Notes Claims                      Impaired         Entitled to Vote
  4         General Unsecured Claims                         Impaired         Deemed to Reject
  5         Equity Interests in Debtors                      Impaired         Deemed to Reject

 B.       Separate Classification of Other Secured Debt Claims

         Although all Other Secured Debt Claims have been placed in one Class for purposes of
 nomenclature within this Plan, each Other Secured Claim, to the extent secured by a Lien on
 Collateral different from the Collateral securing a different Other Secured Claim, shall be treated
 as being in a separate sub-Class for the purposes of voting to accept or reject this Plan and
 receiving Plan Distributions.

 C.       Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one holder of a Claim or Interest that is Allowed in an amount greater than zero for voting
 purposes shall be considered vacant, deemed eliminated from this Plan for purposes of voting to
 accept or reject this Plan, and disregarded for purposes of determining whether this Plan satisfies
 section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.       Voting; Presumptions; Solicitation in Good Faith

         Only holders of Allowed Claims in Class 3 are entitled to vote to accept or reject this
 Plan. An Impaired Class of Claims shall have accepted this Plan if (i) the holders of at least two-
 thirds (2/3) in amount of the Allowed Claims actually voting in such Class have voted to accept
 this Plan and (ii) the holders of more than one-half (1/2) in number of the Allowed Claims
 actually voting in such Class have voted to accept this Plan. Holders of Claims in Class 3 have
 received ballots containing detailed voting instructions.

        The Debtors have, and upon the Effective Date the Reorganized Debtors shall be deemed
 to have, solicited votes on the Plan from the Voting Class in good faith and in compliance with
 the applicable provisions of the Bankruptcy Code. Accordingly, the Debtors and the
 Reorganized Debtors and each of their respective Related Persons shall be entitled to, and upon
 the Confirmation Date are hereby granted, the protections of section 1125(e) of the Bankruptcy
 Code.

 E.       Cramdown

         If any Class of Claims is deemed to reject this Plan or is entitled to vote on this Plan and
 does not vote to accept this Plan, the Debtors intend to (i) seek confirmation of this Plan under
 section 1129(b) of the Bankruptcy Code or (ii) amend or modify this Plan in accordance with the
 terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims or


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 Interests, or any class of Claims or Interests, are impaired, the Bankruptcy Court shall, after
 notice and a hearing, determine such controversy on or before the Confirmation Date.

 F.       Classification and Treatment of Claims and Equity Interests
                   1.        Class 1 – Other Priority Claims

                                   Classification: Class 1 consists of the Other Priority Claims.

                                   Treatment: The legal, equitable and contractual rights of the
                                    Holders of Class 1 Claims are unaltered by the Plan. With respect
                                    to each Allowed Class 1 Claim, on or as soon as reasonably
                                    practicable after the later of (i) the Initial Distribution Date if such
                                    Class 1 Claim is an Allowed Class 1 Claim on the Effective Date
                                    or (ii) the date on which such Class 1 Claim becomes an Allowed
                                    Class 1 Claim, each Holder of an Allowed Class 1 Claim will
                                    receive in full satisfaction, settlement, discharge and release of,
                                    and in exchange for, such Allowed Class 1 Claim, at the election of
                                    the Debtors or Reorganized Debtors: (A) Cash equal to the
                                    amount of such Allowed Class 1 Claim; (B) such other less
                                    favorable treatment as to which the Debtors or Reorganized
                                    Debtors and the Holder of such Allowed Class 1 Claim will have
                                    agreed upon in writing; or (C) such other treatment such that it will
                                    not be impaired pursuant to section 1124 of the Bankruptcy Code.

                                   Impairment and Voting: Class 1 is an Unimpaired Class, and the
                                    Holders of Class 1 Claims are conclusively deemed to have
                                    accepted the Plan pursuant to section 1126(f) of the Bankruptcy
                                    Code. Therefore, the Holders of Class 1 Claims will not be
                                    entitled to vote to accept or reject the Plan and will not be solicited.

                   2.        Class 2 – Other Secured Debt Claims

                                   Classification: Each Class 2 Claim is an Other Secured Debt
                                    Claim against the Debtors. This Class will be further divided into
                                    subclasses designated by letters of the alphabet (Class 2A, Class
                                    2B and so on), so that each holder of any Allowed Other Secured
                                    Debt Claim against the Debtors is in a Class by itself, except to the
                                    extent that there are Other Secured Debt Claims that are
                                    substantially similar to each other and may be included within a
                                    single Class.

                                   Treatment: The legal, equitable and contractual rights of the
                                    Holders of Class 2 Claims are unaltered by the Plan. With respect
                                    to each Allowed Class 2 Claim, on or as soon as reasonably
                                    practicable after the later of (i) the Initial Distribution Date if such
                                    Class 2 Claim is an Allowed Class 2 Claim on the Effective Date
                                    or (ii) the date on which such Class 2 Claim becomes an Allowed
                                    Class 2 Claim, each Holder of an Allowed Class 2 Claim will
                                    receive in full satisfaction, settlement, discharge and release of,
                                    and in exchange for, such Allowed Class 2 Claim, at the election of
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                                    the Debtors or Reorganized Debtors: (A) Cash equal to the
                                    amount of such Allowed Class 2 Claim; (B) return of the collateral
                                    securing such Allowed Class 2 Claim; (C) such other less
                                    favorable treatment as to which the Debtors or Reorganized
                                    Debtors and the Holder of such Allowed Class 2 Claim will have
                                    agreed upon in writing; (D) any defaults shall be cured and shall be
                                    paid or satisfied in accordance with and pursuant to the terms of
                                    the applicable agreement between the Debtors and the Holder of
                                    the Allowed Class 2 Claim; or (E) Reinstatement or such other
                                    treatment such that it will not be impaired pursuant to section 1124
                                    of the Bankruptcy Code. Except with respect to Claims that are
                                    treated in accordance with the preceding clause (B), each Holder of
                                    an Allowed Class 2 Claim will retain the Liens securing its
                                    Allowed Class 2 Claim as of the Effective Date until full and final
                                    payment of such Allowed Class 2 Claim is made as provided
                                    herein.

                                   Impairment and Voting: Class 2 is an Unimpaired Class, and the
                                    Holders of Class 2 Claims are conclusively deemed to have
                                    accepted the Plan pursuant to section 1126(f) of the Bankruptcy
                                    Code. Therefore, the Holders of Class 2 Claims will not be
                                    entitled to vote to accept or reject the Plan and will not be solicited.

                   3.        Class 3 – Senior Secured Notes Claims

                                   Classification: Class 3 consists of the Senior Secured Notes
                                    Claims.

                                   Allowance: Notwithstanding any provisions of Article IX to the
                                    contrary, the Senior Secured Notes Claims will be deemed
                                    Allowed, without offset, counterclaim or defense of any kind, in
                                    the aggregate principal amount of Two Hundred Forty-Two
                                    Million Dollars ($242,000,000), plus accrued interest, fees, costs
                                    and expenses and other amounts in accordance with the Cash
                                    Collateral Order.

                                   Treatment: On the Effective Date, each and every Holder of an
                                    Allowed Senior Secured Notes Claim, in full satisfaction,
                                    settlement, discharge and release of, and in exchange for, such
                                    Claim, shall receive its Pro Rata share of: (a) Cash in the Debtors’
                                    accounts, except for Cash needed in the Reorganized Debtors’
                                    operations and to fund the Fuse Litigation Trust, as mutually
                                    agreed upon by the Debtors and the Supporting Noteholders, (b)
                                    the New Secured Debt, (c) 100% of the New Membership Interests
                                    of Reorganized Parent and (d) 100% of the Litigation Trust
                                    Interests in the Fuse Litigation Trust.

                                   Impairment and Voting: Class 3 is an Impaired Class, and Holders
                                    of Class 3 Claims are entitled to vote to accept or reject the Plan.


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                   4.        Class 4 – General Unsecured Claims

                                   Classification: Class 4 consists of the General Unsecured Claims.

                                   Treatment: Because the Debtors have pledged substantially all of
                                    their assets that have any material value as Collateral to secure the
                                    Senior Secured Notes Claims and no unencumbered assets in the
                                    Estates have any material value (taking into account the deficiency
                                    claims arising under the Senior Secured Notes and the
                                    Administrative Expense Claims that the Holders of the Senior
                                    Secured Notes are expected to assert for the diminution in the
                                    value of their Collateral during the Chapter 11 Cases), the Holders
                                    of Class 4 General Unsecured Claims will receive no distributions
                                    under the Plan.

                                   Impairment and Voting: Class 4 is Impaired and the Holders of
                                    Class 5 Claims are deemed to reject the Plan and will not be
                                    solicited.

                   5.        Class 5 – Equity Interests in Debtors

                                   Classification: Class 5 consists of the Equity Interests in the
                                    Debtors.

                                   Treatment: All Class 5 Equity Interests in the Debtors will be
                                    deemed cancelled upon the Effective Date and will be of no further
                                    force and effect, whether surrendered for cancellation or otherwise.
                                    The Holders of Class 5 Equity Interests in the Debtors will receive
                                    no distributions under the Plan. Notwithstanding the foregoing,
                                    the Equity Interests in the Debtors shall be Reinstated upon the
                                    Effective Date and deemed issued to and held by Reorganized
                                    Parent, directly or indirectly as applicable, as such Equity Interests
                                    were held prior to the Effective Date (except for the Equity
                                    Interests of Fuse, LLC, which shall be held directly by the
                                    Reorganized Parent).

                                   Impairment and Voting: Class 5 is Impaired and the Holders of
                                    Equity Interests in the Debtors are deemed to reject the Plan and
                                    will not be solicited.

 G.       Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtors’
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims,
 including the right to cure any arrears or defaults that may exist with respect to contracts to be
 assumed under the Plan.




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 H.       Discharge of Claims
         Except as otherwise provided in the Plan and effective as of the Effective Date: (i) the
 rights afforded herein and the treatment of all Claims and Equity Interests will be in exchange for
 and in complete satisfaction, settlement, discharge, and release of all Claims and Equity Interests
 of any nature whatsoever, including any interest accrued on such Claims from and after the
 Petition Date, against the Debtors or any of their Assets, property, or Estates; (ii) the Plan will
 bind all Holders of Claims and Equity Interests, notwithstanding whether any such Holders
 abstained from voting to accept or reject the Plan or voted to reject the Plan; (iii) all Claims and
 Equity Interests will be satisfied, discharged, and released in full, and the Debtors’ liability with
 respect thereto will be extinguished completely, including any liability of the kind specified
 under section 502(g) of the Bankruptcy Code; and (iv) all Entities will be precluded from
 asserting against the Debtors, the Debtors’ Estates, the Reorganized Debtors, each of their
 successors and assigns, and each of their Assets and properties, any other Claims or Equity
 Interests based upon any documents, instruments or any act or omission, transaction, or other
 activity of any kind or nature that occurred prior to the Effective Date.

 I.       Subordinated Claims

         The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the
 Reorganized Debtors, with the consent of the Supporting Noteholders, reserve the right to re-
 classify, or to seek to subordinate, any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.
 Unless the Confirmation Order provides otherwise, no distributions under the Plan shall be made
 on account of any subordinated Claim.

 J.       Intercompany Claims

        Intercompany Claims are extinguished by virtue of the substantive consolidation of the
 Debtors for allowance and distribution purposes under the Plan.

                                         ARTICLE IV.
                             ACCEPTANCE OR REJECTION OF THE PLAN
 A.       Presumed Acceptance of Plan

        Classes 1 and 2 are Unimpaired under the Plan, and are, therefore, presumed to have
 accepted the Plan pursuant to section 1126 of the Bankruptcy Code.

 B.       Presumed Rejection of Plan

         Classes 4 and 5 are Impaired and shall receive no distribution under the Plan on account
 of such Claims and Equity Interests and are, therefore, deemed to have rejected the Plan pursuant
 to section 1126(g) of the Bankruptcy Code.



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 C.       Voting Class
        Each Holder of an Allowed Claim as of the applicable Voting Record Date in the Voting
 Class (Class 3) will be entitled to vote to accept or reject the Plan.

 D.       Acceptance by Impaired Classes of Claims

         Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
 section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted the Plan if
 the Holders of at least two-thirds in dollar amount and more than one-half in number of the
 Allowed Claims in such Class actually voting have voted to accept the Plan.

 E.       Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

         The Debtors request confirmation of the Plan under section 1129(b) of the Bankruptcy
 Code with respect to any Impaired Class that does not accept the Plan pursuant to section 1126
 of the Bankruptcy Code. The Debtors, subject to the consent of the Supporting Noteholders,
 reserve the right to modify the Plan or any Exhibit thereto or Plan Schedule in order to satisfy the
 requirements of section 1129(b) of the Bankruptcy Code, if necessary.

                                          ARTICLE V.
                             MEANS FOR IMPLEMENTATION OF THE PLAN

 A.       General Settlement of Claims

         Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
 consideration for the classification, distributions, releases and other benefits provided under the
 Plan, upon the Effective Date, the provisions of the Plan will constitute a good faith compromise
 and settlement of all Claims and Equity Interests and controversies resolved pursuant to the Plan.

 B.       Corporate Existence

          The Debtors will continue to exist after the Effective Date as separate legal entities, with
 all of the powers of corporations, limited liability companies, partnerships, associations, or other
 business entities pursuant to the applicable law in their states of incorporation or organization.

       Prior to the Effective Date, the Debtors shall take all actions as necessary and required to
 form Reorganized Parent. After the Effective Date, Reorganized Parent shall exist with all of the
 powers pursuant to the New Operating Agreement and the New Organizational Documents.

         On or after the Effective Date, without prejudice to the rights of any party to a contract or
 other agreement with any Reorganized Debtor, each Reorganized Debtor may, in its sole
 discretion, take such action as permitted by applicable law, the New Organizational Documents,
 and such Reorganized Debtor’s organizational documents, as such Reorganized Debtor may
 determine is reasonable and appropriate, including, without limitation, causing: (i) a
 Reorganized Debtor to be merged into another Reorganized Debtor or an affiliate of a
 Reorganized Debtor; (ii) a Reorganized Debtor to be dissolved; (iii) the legal name of a
 Reorganized Debtor to be changed; or (iv) the closure of a Reorganized Debtor’s Chapter 11
 Case on the Effective Date or any time thereafter.


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          On the Effective Date or as soon thereafter as is reasonably practicable, and without need
 for any notice to or any vote, consent, authorization, approval, ratification or other action by any
 Entity or any director, stockholder, securityholder, manager, member, or partner (or board
 thereof) of any Entity, the Reorganized Debtors may take all actions as may be necessary or
 appropriate to effect any transaction described in, approved by, or necessary or appropriate to
 effectuate this Plan, including, without limitation: (i) the execution and delivery of appropriate
 agreements or other documents of merger, consolidation, restructuring, conversion, disposition,
 transfer, dissolution, or liquidation containing terms that are consistent with the terms of this
 Plan and the Plan Documents and that satisfy the requirements of applicable law and any other
 terms to which the applicable entities may agree; (ii) the execution and delivery of appropriate
 instruments of transfer, assignment, assumption, or delegation of any Asset, property, right,
 liability, debt, or obligation on terms consistent with the terms of this Plan and having other
 terms to which the applicable parties agree; (iii) the filing of appropriate certificates or articles of
 incorporation and amendments thereto, reincorporation, merger, consolidation, conversion, or
 dissolution pursuant to applicable law; (iv) the Restructuring Transactions; and (v) all other
 actions that the applicable entities determine to be necessary or appropriate, including, without
 limitation, making filings or recordings that may be required by applicable law.

 C.       Vesting of Assets in the Reorganized Debtors

         Except as otherwise provided in the Plan or the Confirmation Order, on or after the
 Effective Date, all property and Assets of the Estates (including, without limitation, Causes of
 Action) and any property and Assets acquired by the Debtors pursuant to the Plan will vest in the
 Reorganized Debtors, free and clear of all Liens, Claims, charges or other encumbrances. Except
 as may be otherwise provided in the Plan, on and after the Effective Date, the Reorganized
 Debtors may operate their businesses and may use, acquire or dispose of property and
 compromise or settle any Claims without supervision or approval by the Bankruptcy Court and
 free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those restrictions
 expressly imposed by the Plan and the Confirmation Order. Without limiting the foregoing, the
 Reorganized Debtors will pay the charges that they incur after the Effective Date for
 Professionals’ fees, disbursements, expenses or related support services (including reasonable
 fees relating to the preparation of Professional fee applications) in the ordinary course of
 business and without application or notice to, or order of, the Bankruptcy Court. For the
 avoidance of doubt, the Litigation Trust Assets shall not revest in the Reorganized Debtors and
 instead the Litigation Trust Assets shall vest in the Fuse Litigation Trust pursuant to Article VI.B
 of the Plan.

 D.       New Secured Debt; Sources of Cash for Plan Distributions

         (a)   New Secured Debt. On the Effective Date, Operating Subsidiary, as borrower,
 and Reorganized Parent and certain other Debtors, as guarantors, will incur the New Secured
 Debt, which will consist of a first lien term loan in the aggregate principal amount of Forty-Five
 Million Dollars ($45,000,000). The lenders under the New Secured Debt will be each of the
 existing Holders of the Senior Secured Notes.

         The New Secured Debt will mature in five years from the date of the issuance thereof and
 will accrue interest at the rate of 12.00% per annum, which shall be payable in Cash, quarterly in
 arrears. Excess cash flow of the Reorganized Debtors (to be defined in the New Secured Debt
 Documents as mutually agreed upon by the Debtors and the Supporting Noteholders), shall be
 distributed to the Holders of the New Secured Debt on a quarterly basis. The New Secured Debt
 shall have a first lien on substantially all of the assets of the Reorganized Debtors, including the
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 New Membership Interests of Reorganized Parent, subject to customary exceptions to be set
 forth in the New Secured Debt Documents.

         On the Effective Date, the Reorganized Debtors will be authorized to execute and deliver
 the New Secured Debt Documents, and any related instruments and documents, and will be
 authorized to execute, deliver, file, record and issue any other notes, guarantees, security
 agreements, documents (including UCC financing statements, intellectual property security
 agreements to be filed in the U.S. Patent & Trademark Office and deposit account control
 agreements with the Debtors’ depositary banks), amendments to the foregoing, or agreements in
 connection therewith, in each case without further notice to or order of the Bankruptcy Court, act
 or action under applicable law, regulation, order, or rule and without need for any notice to or
 any vote, consent, authorization, approval, ratification or other action by any Entity or any
 director, stockholder, securityholder, manager, member, or partner (or board thereof) of any
 Entity, subject to the lien limitations set forth herein.

         (b)    Sources of Cash for Plan Distribution. Except as otherwise provided in the Plan
 or the Confirmation Order, all Cash necessary for the Reorganized Debtors to make payments
 required pursuant to the Plan will be obtained from the New Secured Debt and the Reorganized
 Debtors’ Cash balances, including Cash from operations. Cash payments to be made pursuant to
 the Plan will be made by the Reorganized Debtors.

 E.       Treatment of Vacant Classes

        Any Claim or Interest in a Class is considered vacant under Article III.C of this Plan shall
 receive no Plan Distribution.

 F.       Key Employee Retention Agreements

       The Key Employee Retention Agreements shall be Filed with the Plan Supplement and
 implemented on or soon after the Effective Date.

         Except as otherwise set forth therein, the Key Employee Retention Agreements shall
 supersede any existing employment agreement or retention agreement with respect to any
 individual covered by, included in or receiving compensation under any of the Key Employee
 Retention Agreements, including any severance benefit plans or policies, any “Liquidation
 Event” bonuses and any other bonuses, benefits or form of compensation, including accrued
 vacation or paid time off benefits, and such existing agreements shall be deemed rejected and all
 Claims arising under or relating thereto shall be forever waived, extinguished and discharged
 (other than as set forth in the Key Employee Retention Agreements).

 G.       Issuance of New Membership Interests and Related Documentation

         On the Effective Date, the Reorganized Parent will be authorized to and will issue the
 New Membership Interests without further notice to or order of the Bankruptcy Court, act or
 action under applicable law, regulation, order, or rule and without need for any notice to or any
 vote, consent, authorization, approval, ratification or other action by any Entity or any director,
 stockholder, securityholder, manager, member, or partner (or board thereof) of any Entity. From
 and after the Effective Date, the Reorganized Debtors will cease to be under any disclosure or
 other obligations under the Senior Secured Notes Indenture.


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         The New Membership Interests of Reorganized Parent to be issued and distributed
 pursuant to the Plan will be exempt from the registration requirements of federal, state or local
 securities laws to the fullest extent permitted by section 3(a)(9) of the Securities Act, section
 4(a)(2) of the Securities Act and Regulation D promulgated thereunder, and/or Section 1145(a)
 of the Bankruptcy Code. Without limiting the effects of such provisions, all financing
 documents, agreements, and instruments entered into and delivered on or as of the Effective Date
 contemplated by or in furtherance of the Plan, including, without limitation, the New
 Membership Interests and any other agreement or document related to or entered into in
 connection with any of the foregoing, will become effective and binding in accordance with their
 respective terms and conditions upon execution and delivery by the parties thereto, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule and without need for any notice to or any vote, consent, authorization,
 approval, ratification or other action by any Entity or any director, stockholder, securityholder,
 manager, member, or partner (or board thereof) of any Entity (other than as expressly required
 by such applicable agreement).

         The New Membership Interests of Reorganized Parent shall constitute a single class of
 Equity Security in Reorganized Parent and there shall exist no other Equity Securities, warrants,
 options, or other agreements to acquire any equity interest in Reorganized Parent. Upon the
 Effective Date, after giving effect to the transactions contemplated hereby, the New Membership
 Interests of Reorganized Parent shall be governed by the New Organizational Documents.

         On the Effective Date, as a condition to receiving any distribution of New Membership
 Interests, all holders of the New Membership Interests shall be deemed parties to and bound by
 the New Operating Agreement that will be filed with the Plan Supplement and that shall contain
 customary terms including transfer restrictions, preemptive rights, right of first offer, tag-along
 rights, drag-along rights, and certain information rights. The New Operating Agreement shall be
 binding on Reorganized Parent and all parties receiving, and all holders of, the New Membership
 Interests (whether received under the Plan or otherwise) regardless of whether such parties
 execute the New Operating Agreement.

 H.       Substantive Consolidation for Plan Purposes

         The Plan serves as a motion by the Debtors seeking entry, pursuant to section 105 of the
 Bankruptcy Code, of an order authorizing, on the Effective Date, the substantive consolidation of
 the Estates of all of the Debtors for purposes of classifying and treating all Claims under the
 Plan, including for voting, confirmation, and distribution purposes only. Substantive
 consolidation will not (i) alter the state of organization of any Debtor for purposes of
 determining applicable law of any of the Causes of Action, (ii) alter or impair the legal and
 equitable rights of the Debtors to enforce any of the Causes of Action, or (iii) otherwise impair,
 release, discharge, extinguish or affect any of the Causes of Action or issues raised as a part
 thereof.

         If substantive consolidation is ordered, then on and after the Effective Date, all Assets
 and liabilities of the Debtors shall be treated as though they were merged into a single estate for
 purposes of treatment of and distributions on Claims. All duplicative Claims (identical in both
 amount and subject matter) Filed against more than one of the Debtors shall automatically be
 expunged so that only one Claim survives against the consolidated Debtors. All guarantees by
 any Debtor of the obligations of any other Debtor shall be eliminated so that any Claim and any
 guarantee thereof by any other Debtor, as well as any joint and/or several liability of any Debtor
 with respect to any other Debtor, shall be treated as one collective obligation of the Debtors.
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 Any alleged defaults under any applicable agreement with the Debtors arising from substantive
 consolidation under this Plan shall be deemed cured as of the Effective Date.

 I.       Release of Liens, Claims and Equity Interests
         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, on the Effective
 Date and concurrently with the applicable distributions made pursuant to the Plan, all Liens,
 Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estates will be fully released, terminated, extinguished and discharged, in each
 case without further notice to or order of the Bankruptcy Court, act or action under applicable
 law, regulation, order, or rule and without need for any notice to or any vote, consent,
 authorization, approval, ratification or other action by any Entity or any director, stockholder,
 securityholder, manager, member, or partner (or board thereof) of any Entity. Any Entity
 holding such Liens or Interests will, pursuant to section 1142 of the Bankruptcy Code, promptly
 execute and deliver to the Reorganized Debtors such instruments of termination, release,
 satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Reorganized Debtors.

 J.       New Organizational Documents

         The New Organizational Documents shall satisfy the provisions of the Plan and the
 Bankruptcy Code, and will (i) include, among other things, pursuant to section 1123(a)(6) of the
 Bankruptcy Code, a provision prohibiting the issuance of non-voting equity securities, but only
 to the extent required by section 1123(a)(6) of the Bankruptcy Code; (ii) authorize the issuance
 of New Membership Interests in an amount not less than the amount necessary to permit the
 distributions thereof required or contemplated by the Plan; (iii) to the extent necessary or
 appropriate, include restrictions on the Transfer of New Membership Interests; and (iv) to the
 extent necessary or appropriate, include such provisions as may be needed to effectuate and
 consummate the Plan and the transactions contemplated herein. After the Effective Date, the
 Reorganized Debtors may amend and restate their operating agreement and other applicable
 organizational documents, as permitted by applicable law.

 K.       Managers and Officers of Reorganized Debtors

       The New Board will be comprised initially of five (5) members designated by the
 Supporting Noteholders, including a lead director who shall have such authority and duties as the
 New Board may determine.

         As of the Effective Date, the initial officers of the Reorganized Debtors will be the
 officers of the Debtors existing immediately prior to the Effective Date. As of the Effective
 Date, the Reorganized Parent shall be the sole member of Fuse, LLC, and Fuse, LLC shall be the
 sole member and manager of the Reorganized Debtors, other than Reorganized Parent, FM
 Networks LLC, and Fuse Finance, Inc. Fuse Holdings, LLC shall be the sole member and
 manager of FM Networks LLC. Fuse, LLC shall be the sole shareholder of Fuse Finance, Inc.
 Except as set forth in the Plan, any other managers of the Debtors shall be deemed removed as of
 the Effective Date.

          Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose, prior to
 the Confirmation Hearing, the identity and affiliations of any Person proposed to serve on the
 initial board of managers or directors or as an officer of the Reorganized Debtors and, to the
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 extent such Person is an insider other than by virtue of being a director or officer, the nature of
 any compensation for such Person. Each such manager, director, and officer will serve from and
 after the Effective Date pursuant to applicable law and the terms of the New Organizational
 Documents and the other constituent and organizational documents of the Reorganized Debtors.
 Except as set forth herein, the existing directors and managers of the Debtors will be deemed to
 have resigned on and as of the Effective Date, in each case without further notice to or order of
 the Bankruptcy Court, act or action under applicable law, regulation, order, or rule and without
 need for any notice to or any vote, consent, authorization, approval, ratification or other action
 by any Entity or any other Person or any director, stockholder, securityholder, manager, member,
 or partner (or board thereof) of any Entity.
 L.       Corporate Action

         Each of the Debtors and the Reorganized Debtors, as applicable, may take any and all
 actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of the Plan, including, without limitation, the distribution of the
 securities to be issued pursuant hereto in the name of and on behalf of the Reorganized Debtors
 and in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule and without need for any notice to or any vote, consent,
 authorization, approval, ratification or other action by any Entity or any other Person or any
 director, stockholder, securityholder, manager, member, or partner (or board thereof) of any
 Entity (except for those expressly required pursuant to the Plan).

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to the Plan that would otherwise require approval of any stockholders, securityholders, directors,
 managers, members or partners of any Debtor (as of prior to the Effective Date) will be deemed
 to have been so approved and will be in effect prior to, on or after the Effective Date (as
 appropriate) pursuant to applicable law and without any requirement of further notice to or any
 vote, consent, authorization, approval, ratification or other action by the stockholders, directors,
 managers or members of such Debtors, or the need for any notice to or any vote, consent,
 authorization, approval, ratification or other, action by any Person.

          All matters provided for in the Plan involving the legal or corporate structure of any
 Debtor or any Reorganized Debtor, as applicable, and any legal or corporate action required by
 any Debtor or any Reorganized Debtor as applicable, in connection with the Plan, will be
 deemed to have occurred and will be in full force and effect in all respects, in each case without
 further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
 order, or rule and without need for any notice to or any vote, consent, authorization, approval,
 ratification or other action by any Entity or any other Person or any director, stockholder,
 manager, member, or partner (or board thereof) of any Entity. On the Effective Date, the
 appropriate officers of each Debtor and each Reorganized Debtor, as applicable, are authorized
 to issue, execute, deliver, and consummate the transactions contemplated by, the contracts,
 agreements, documents, guarantees, pledges, consents, securities, certificates, resolutions and
 instruments contemplated by or described in the Plan in the name of and on behalf of the Debtor
 and each Reorganized Debtor, as applicable, in each case without further notice to or order of the
 Bankruptcy Court, act or action under applicable law, regulation, order, or rule and without need
 for any notice to or any vote, consent, authorization, approval, ratification or other action by any
 Entity or other Person or any director, stockholder, manager, member, or partner (or board
 thereof) of any Entity. The secretary and any assistant secretary of each Debtor and each

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 Reorganized Debtor, as applicable, will be authorized to certify or attest to any of the foregoing
 actions.

 M.       Cancellation of Notes, Certificates and Instruments
         Except for the purpose of evidencing a right to a distribution under this Plan and except
 as otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities
 and other documents evidencing any prepetition Claim against or Interest in any Reorganized
 Debtor and any rights of any holder in respect thereof shall be deemed cancelled, discharged, and
 of no force or effect, including any relating to the Equity Interests in Fuse, LLC. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan and the obligations of the Debtors
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule and without need for any notice to or any vote,
 consent, authorization, approval, ratification or other action by any Entity or other Person or any
 director, stockholder, manager, member, or partner (or board thereof) of any Entity.
 Notwithstanding such cancellation and discharge, the Senior Secured Notes Indenture shall
 continue in effect to the extent necessary to: (1) allow the Senior Secured Notes Trustee to
 enforce the rights, Claims and interests of the Senior Secured Notes Trustee and any predecessor
 thereto vis-à-vis the Holders of Senior Secured Notes and any parties other than the Debtors or
 any other Released Party; (2) allow Holders of Senior Secured Notes Claims to receive Plan
 Distributions; (3) allow the Reorganized Debtors to make distributions pursuant to the Plan; (4)
 allow the Senior Secured Notes Trustee to receive distributions under the Plan on account of the
 Senior Secured Notes Claims for further distribution in accordance with the Senior Secured
 Notes Indenture; (5) allow the Senior Secured Notes Trustee to seek compensation and/or
 reimbursement of fees and expenses in accordance with the Plan and the Cash Collateral Order;
 (6) preserve any rights of the Senior Secured Notes Trustee to payment of fees, expenses, and
 indemnification obligations as against any parties other than the Debtors or the Reorganized
 Debtors, and any money or property distributable to the Beneficial Holders under the relevant
 instrument, including any rights to priority of payment or to exercise charging liens (including
 the Senior Secured Notes Charging Lien); and (7) appear and be heard in the Chapter 11 Cases
 or in any proceeding in the Bankruptcy Court, including to enforce any obligation owed to the
 Senior Secured Notes Trustee or the Holders of Senior Secured Notes Claims under the Plan.
 Except as provided pursuant to this Plan, the Senior Secured Notes Trustee and its respective
 agents, successors, and assigns shall be discharged of all of their obligations associated with the
 Senior Secured Notes Indenture. The commitments and obligations (if any) of the Holders of the
 Senior Secured Notes to extend any further or future credit or financial accommodations to any
 of the Debtors, any of their respective subsidiaries or any of their respective successors or
 assigns under the Senior Secured Notes Indenture shall fully terminate and be of no further force
 or effect on the Effective Date.

 N.       Cancellation of Existing Instruments Governing Security Interests

         Upon the full payment or other satisfaction of an Allowed Other Secured Claim, or
 promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the Debtors
 or Reorganized Debtors, as applicable, any Collateral or other property of a Debtor held by such
 holder, together with any termination statements, instruments of satisfaction, or releases of all
 security interests with respect to its Allowed Other Secured Claim that may be reasonably

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 required to terminate any related financing statements, mortgages, mechanics’ or other statutory
 Liens, or lis pendens, or similar interests or documents.

 O.       Equity Interests in Subsidiaries; Corporate Reorganization
         On the Effective Date and without need for any notice to or any vote, consent,
 authorization, approval, ratification or other action by any Entity or other Person or any director,
 stockholder, manager, member, or partner (or board thereof) of any Entity, the certificates and all
 other documents representing the Equity Interests in the Debtors, shall be deemed to be in full
 force and effect as they existed prior to the Petition Date except for the Equity Interests of Fuse,
 LLC, which shall be held directly by the Reorganized Parent, and except as expressly modified
 by this Plan.

 P.       Restructuring Transactions

         On the Effective Date or as soon as reasonably practicable thereafter, and without need
 for any notice to or any vote, consent, authorization, approval, ratification or other action by any
 Entity or other Person or any director, stockholder, manager, member, or partner (or board
 thereof) of any Entity, the Debtors or Reorganized Debtors, as applicable, may take all actions
 consistent with this Plan as may be necessary or appropriate to effect any transaction described
 in, approved by, contemplated by, or necessary to effectuate the Restructuring Transactions
 under and in connection with this Plan.

 Q.       Plan Supplement, Other Documents and Orders

         The documents to be Filed as part of the Plan Supplement and the other documents and
 orders referenced herein, or otherwise to be executed in connection with the transactions
 contemplated hereunder, shall be subject to the consent and the approval of the Supporting
 Noteholders.

                                         ARTICLE VI.
                                      LITIGATION TRUST

 A.       The Litigation Trustee

        Appointment of the Litigation Trustee. The Litigation Trustee shall be selected by the
 Supporting Noteholders. The identity of the Litigation Trustee shall be disclosed prior to the
 Confirmation Hearing as part of the Plan Supplement in accordance with Section 1129(a)(5) of
 the Bankruptcy Code. The Litigation Trustee will be compensated by the Fuse Litigation Trust.

         Powers of the Litigation Trustee. The Litigation Trustee shall be a representative of the
 Debtors’ Estates and shall, subject to the terms of the Litigation Trust Agreement, have the
 power to make all decisions with respect to the prosecution of the Litigation Claims; provided,
 however, that the following actions will require prior written approval of the Litigation Trust
 Oversight Committee: (a) the selection of any successor Litigation Trustee; (b) any
 determination to borrow money or incur funded indebtedness; (c) the retention of counsel and
 other professionals to assist in prosecution of the Litigation Claims and the terms of each
 professional’s engagement, including any alternative fee arrangements; (d) settlement of all or
 any portion of the Litigation Claims, and (e) any arrangement for compensation of the Litigation
 Trustee.

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          The Litigation Trustee shall consult with, and obtain approval of, the Litigation Trust
 Oversight Committee with respect to all material decisions regarding (x) the prosecution of the
 Litigation Claims, including (without limitation) the litigation strategy with respect thereto, and
 the filing and prosecution of any dispositive or other substantive motions or pleadings, and (y)
 the assertion or waiver of the Debtors’ attorney-client privilege (to which the Litigation Trust
 shall succeed with respect to the Litigation Trust Assets).

         The Litigation Trustee as the Representative of the Debtors’ Estates. On the Effective
 Date, the Litigation Trustee, and not the Reorganized Debtors shall be deemed the Estates’
 representative in accordance with Section 1123 of the Bankruptcy Code and shall have all the
 rights and powers set forth in the Litigation Trust Agreement, including, without limitation, the
 right to (1) effect all actions and execute all agreements, instruments and other documents
 necessary to implement the provisions of the Litigation Trust Agreement; (2) administer the
 Litigation Trust Assets, including prosecuting, settling, abandoning or compromising any actions
 that are or relate to the Litigation Trust Assets; (3) employ and compensate professionals and
 other agents consistent with this Article VI.A of the Plan, provided, however, that any such
 compensation shall be paid by the Fuse Litigation Trust to the extent not inconsistent with the
 status of the Fuse Litigation Trust as a liquidating trust within the meaning of Treas. Reg. §
 301.7701-4(d) for federal income tax purposes; and (4) control attorney/client privilege relating
 to or arising from the Litigation Trust Assets.

 B.       The Fuse Litigation Trust

         On the Effective Date, the Fuse Litigation Trust shall be established pursuant to the
 Litigation Trust Agreement for the purpose of prosecuting the Litigation Claims. The Fuse
 Litigation Trust is intended to qualify as a liquidating trust pursuant to United States Treasury
 Regulation Article 301.7701-4(d), with no objective to continue or engage in the conduct of a
 trade or business.

         On the Effective Date, the Litigation Trust Assets shall vest automatically in the Fuse
 Litigation Trust. The Plan shall be considered a motion pursuant to Sections 105, 363 and 365 of
 the Bankruptcy Code for such relief. The transfer of the Litigation Trust Assets to the Fuse
 Litigation Trust shall be made for the benefit and on behalf of the Litigation Trust Beneficiaries.
 The assets comprising the Litigation Trust Assets will be treated for tax purposes as being
 transferred by the Debtors to the Litigation Trust Beneficiaries pursuant to the Plan in exchange
 for their Allowed Claims and then by the Litigation Trust Beneficiaries to the Fuse Litigation
 Trust in exchange for the Litigation Trust Interests in the Fuse Litigation Trust. The Litigation
 Trust Beneficiaries shall be treated as the grantors and owners of the Fuse Litigation Trust.
 Upon the transfer of the Litigation Trust Assets, the Fuse Litigation Trust shall succeed to all of
 the Debtors’ rights, title and interest in the Litigation Trust Assets, and the Debtors will have no
 further interest in or with respect to the Litigation Trust Assets. In pursuing the Litigation
 Claims, the Litigation Trustee shall be entitled to the tolling provisions provided under section
 108 of the Bankruptcy Code, and shall succeed to the Debtors’ rights with respect to the time
 periods in which any of the Litigation Claims may be brought under section 546 of the
 Bankruptcy Code. The Litigation Trust Agreement will require consistent valuation of the
 Litigation Trust Assets by the Reorganized Debtors, the Litigation Trustee and the Litigation
 Trust Beneficiaries for all U.S. federal income tax and reporting purposes. The Fuse Litigation
 Trust will not be permitted to receive or retain Cash in excess of a reasonable amount to meet
 claims and contingent liabilities or to maintain the value of the Litigation Trust Assets.


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          In connection with the prosecution of the Litigation Claims, any attorney-client privilege,
 work-product privilege, joint interest privilege or other privilege or immunity attaching to any
 documents or communications (in any form, including, without limitation, written, electronic or
 oral) relating to the Litigation Claims shall be transferred to and shall vest in the Fuse Litigation
 Trust. The Fuse Litigation Trust’s receipt of such privileges associated with the Litigation
 Claims shall not operate as a waiver of those privileges possessed or retained by the Debtors, nor
 shall it operate to eliminate the rights of any co-defendant to any applicable joint privilege. The
 Fuse Litigation Trust shall also be vested with the Debtors’ rights, as such rights existed prior to
 the Effective Date, to conduct discovery and oral examinations of any party under Bankruptcy
 Rule 2004. The Fuse Litigation Trust, however, shall not be considered a successor of any
 Debtor and shall not assume any obligations of the Debtors other than expressly provided for by
 the Plan.

         Except as otherwise ordered by the Bankruptcy Court, the Litigation Trust Expenses on
 or after the Effective Date shall be paid in accordance with the Litigation Trust Agreement
 without further order of the Bankruptcy Court.

        The Fuse Litigation Trust shall file annual reports regarding the liquidation or other
 administration of property comprising the Litigation Trust Assets, the distributions made by it
 and other matters required to be included in such report in accordance with the Litigation Trust
 Agreement. In addition, the Fuse Litigation Trust will file tax returns as a grantor trust pursuant
 to United States Treasury Regulation Article 1.671-4(a).

         The Litigation Trust Interests are not intended to constitute “securities.” To the extent
 the Litigation Trust Interests are deemed to be “securities,” the issuance of such interests shall be
 exempt from registration under the Securities Act and any applicable state and local laws
 requiring registration of securities pursuant to section 1145 of the Bankruptcy Code or another
 available exemption from registration under the Securities Act. If the Litigation Trustee
 determines, with the advice of counsel, that the Fuse Litigation Trust is required to comply with
 registration or reporting requirements under the Securities Act, the Exchange Act or other
 applicable law, then the Litigation Trustee shall take any and all actions to comply with such
 registration and reporting requirements, if any, and to file reports with the SEC to the extent
 required by applicable law.

         The Fuse Litigation Trust shall be dissolved as soon as practicable after the date that is
 the earlier to occur of: (a) the distribution of all proceeds from the Litigation Claims available for
 distribution pursuant to the Plan, or (b) the determination of the Litigation Trust Oversight
 Committee that the continued prosecution of the Litigation Claims is not likely to yield sufficient
 additional proceeds to justify further pursuit. For the avoidance of doubt, if certain Litigation
 Claims are compromised and settled by the Debtors prior to the Effective Date, or if the
 Supporting Noteholders determine that the continued prosecution of the Litigation Claims is not
 likely to yield sufficient proceeds to justify the pursuit of such Litigation Claims by the Fuse
 Litigation Trust, then notwithstanding the formation of the Fuse Litigation Trust in accordance
 with the terms of the Plan, the Fuse Litigation Trust may not be funded and the Litigation Trust
 Oversight Committee may determine to dissolve the Fuse Litigation Trust, in which case the
 Litigation Trust Assets shall revest in the Reorganized Debtors and shall not be deemed
 transferred to the Fuse Litigation Trust.

         To the extent that the terms of the Plan with respect to the Fuse Litigation Trust are
 inconsistent with the terms set forth in the Litigation Trust Agreement, then the terms of the
 Litigation Trust Agreement shall govern.
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 C.       The Litigation Trust Oversight Committee
         (a) The Litigation Trust Oversight Committee shall be comprised of five (5) members
 with each of the Supporting Noteholders designating one member to serve on the Litigation Trust
 Oversight Committee. The identity of the members of the Litigation Trust Oversight Committee
 shall be disclosed in accordance with Section 1129(a)(5) of the Bankruptcy Code.

         (b) The Litigation Trust Oversight Committee shall oversee the Fuse Litigation Trust and
 the Litigation Trustee.

        (c) The Litigation Trust Oversight Committee shall be authorized to retain and employ
 Professionals to assist it with and advise it with respect to its duties under the Plan. All fees and
 expenses of such Professionals shall be satisfied by the Fuse Litigation Trust.

        (d) The duties and powers of the Litigation Trust Oversight Committee shall terminate
 upon the final resolution of the Litigation Claims and the final distribution of all proceeds in
 accordance with the terms of the Litigation Trust Agreement.

 D.       Closing the Chapter 11 Cases

         If applicable, the Fuse Litigation Trust shall seek authority from the Bankruptcy Court to
 close the Chapter 11 Cases in accordance with the Bankruptcy Code and the Bankruptcy Rules;
 provided, however, that the Fuse Litigation Trust may keep one or more of the Debtors’ cases
 open in order to resolve any Disputed Claims or to pursue Causes of Action or until the Fuse
 Litigation Trust has been terminated and all remaining Litigation Trust Assets have been
 distributed. For the avoidance of doubt, the Chapter 11 Cases may be closed prior to termination
 of the Fuse Litigation Trust.

                             ARTICLE VII.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.       Assumption and Rejection of Executory Contracts and Unexpired Leases

        On the Effective Date, all Executory Contracts and Unexpired Leases of the Debtors will
 be deemed rejected in accordance with, and subject to, the provisions and requirements of
 sections 365 and 1123 of the Bankruptcy Code, except for those Executory Contracts and
 Unexpired Leases that:

                   1.        have previously expired or terminated pursuant to their own terms or by
                             agreement of the parties thereto;

                   2.        have been assumed by order of the Bankruptcy Court;

                   3.        are the subject of a motion to assume pending on the Effective Date;

                   4.        are identified on a schedule of assumed contracts in the Plan Supplement;
                             or

                   5.        are assumed pursuant to the terms of the Plan.


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         Without amending or altering any prior order of the Bankruptcy Court approving the
 assumption or rejection of any Executory Contract or Unexpired Lease, entry of the
 Confirmation Order by the Bankruptcy Court will constitute approval of such assumptions and
 rejections pursuant to sections 365(a) and 1123 of the Bankruptcy Code. To the extent any
 provision in any Executory Contract or Unexpired Lease assumed pursuant to the Plan
 (including, without limitation, any “change of control” provision) restricts or prevents, or
 purports to restrict or prevent, or is breached or deemed breached by, the Reorganized Debtors’
 assumption of such Executory Contract or Unexpired Lease, then such provision will be deemed
 modified such that the transactions contemplated by the Plan will not entitle the non-debtor party
 thereto to terminate such Executory Contract or Unexpired Lease or to exercise any other
 default-related rights with respect thereto. Each Executory Contract and Unexpired Lease
 assumed pursuant to this Article of the Plan will revest in and be fully enforceable by the
 Reorganized Debtors in accordance with its terms, except as modified by the provisions of the
 Plan, any order of the Bankruptcy Court authorizing and providing for its assumption, or
 applicable law. Notwithstanding any of the foregoing, the Moelis Sellside Engagement Letter
 shall be assumed by the Debtors and shall be deemed effective on the Effective Date.

 B.       Assignment of Executory Contracts or Unexpired Leases

         In the event of an assignment of an Executory Contract or Unexpired Lease, at least ten
 (10) days prior to the Confirmation Hearing, the Debtors will serve upon counterparties to such
 Executory Contracts and Unexpired Leases a notice of the proposed assumption and assignment
 that will: (a) list the applicable cure amount, if any; (b) identify the party to which the Executory
 Contract or Unexpired Lease will be assigned; (c) describe the procedures for filing objections
 thereto; and (d) explain the process by which related disputes will be resolved by the Bankruptcy
 Court; additionally, the Debtors will file with the Bankruptcy Court a list of such Executory
 Contracts and Unexpired Leases to be assigned and the proposed cure amounts. Any applicable
 cure amounts will be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by
 payment of the cure amount in Cash on the Effective Date or on such other terms as the parties to
 such Executory Contracts or Unexpired Leases may otherwise agree.

        Any objection by a counterparty to an Executory Contract or Unexpired Lease to a
 proposed assignment or any related cure amount must be Filed, served and actually received by
 the Debtors at least three (3) Business Days prior to the Confirmation Hearing. Any
 counterparty to an Executory Contract and Unexpired Lease that fails to object timely to the
 proposed assignment or cure amount will be deemed to have consented to such assignment of its
 Executory Contract or Unexpired Lease. The Confirmation Order will constitute an order of the
 Bankruptcy Court approving any proposed assignments of Executory Contracts or Unexpired
 Leases pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

         In the event of a dispute regarding (a) the amount of any cure payment, (b) the ability of
 any assignee to provide “adequate assurance of future performance” (within the meaning of
 section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
 assigned or (c) any other matter pertaining to assignment, the applicable cure payments required
 by section 365(b)(1) of the Bankruptcy Code will be made following the entry of a Final Order
 or orders resolving the dispute and approving the assignment. If an objection to assignment or
 cure amount is sustained by the Bankruptcy Court, the Reorganized Debtors, in their sole option,
 may elect to reject such Executory Contract or Unexpired Lease in lieu of assuming and
 assigning it.


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 C.       Claims on Account of the Rejection of Executory Contracts or Unexpired Leases
        All Proofs of Claim with respect to Claims arising from the rejection of Executory
 Contracts or Unexpired Leases, pursuant to the Plan or the Confirmation Order, if any, must be
 Filed with the Bankruptcy Court within thirty (30) days after the date of entry of an order of the
 Bankruptcy Court (including the Confirmation Order) approving such rejection. The Debtor or
 Reorganized Debtor, as the case may be, will provide notice of such rejection and specify the
 appropriate deadline for the filing of such Proof of Claim.

         Any Entity that is required to File a Proof of Claim arising from the rejection of an
 Executory Contract or an Unexpired Lease that fails to timely do so will be forever barred,
 estopped and enjoined from asserting such Claim, and such Claim will not be enforceable,
 against the Debtors, the Reorganized Debtors or the Estates, and the Debtors, the Reorganized
 Debtors and their Estates and property will be forever discharged from any and all indebtedness
 and liability with respect to such Claim unless otherwise ordered by the Bankruptcy Court or as
 otherwise provided in the Plan. All such Claims will, as of the Effective Date, be subject to the
 permanent injunction set forth in Article XII.D of the Plan. All claims arising from the rejection
 of any Executory Contract or Unexpired Lease shall be treated as General Unsecured Claims,
 subject to any applicable limitation or defense under the Bankruptcy Code and applicable law.

 D.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed hereunder is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy
 Code, by the Debtors or Reorganized Debtors, as applicable, upon assumption thereof, by
 payment of the default amount in Cash as and when due in the ordinary course or on such other
 terms as the parties to such Executory Contracts or Unexpired Leases may otherwise agree.
 Following the Petition Date, the Debtors may serve a notice on parties to executory contracts and
 unexpired leases to be assumed reflecting the Debtors’ intention to assume the contract or lease
 in connection with this Plan and setting forth the proposed Cure Amount (if any). If a
 counterparty to any executory contract or unexpired lease that the Debtors or Reorganized
 Debtors, as applicable, intend to assume does not receive such a notice, the proposed Cure
 Amount for such executory contract or unexpired lease shall be deemed to be zero dollars ($0).

         Any objection by a counterparty to an Executory Contract or Unexpired Lease to a
 proposed assumption must be Filed, served and actually received by the Debtors at least five (5)
 Business Days prior to the Confirmation Hearing. Any counterparty to an Executory Contract
 and Unexpired Lease that fails to object timely to the proposed assumption will be deemed to
 have assented and will be deemed to have forever released and waived any objection to the
 proposed assumption. In the event of a dispute regarding (1) the amount of any payments to cure
 a default, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate
 assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
 under the contract or lease to be assumed or (3) any other matter pertaining to assumption, the
 cure payments required by section 365(b)(1) of the Bankruptcy Code will be made following the
 entry of a Final Order or orders resolving the dispute and approving the assumption. If an
 objection to cure is sustained by the Bankruptcy Court, the Debtors or Reorganized Debtors, as
 applicable, in their sole option, may elect to reject such Executory Contract or Unexpired Lease
 in lieu of assuming it.



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 E.       Assumption of Director and Officer Insurance Policies
        The Debtors and, upon the Effective Date, the Reorganized Debtors, will assume all of
 the D&O Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code. Unless
 previously effectuated by separate order entered by the Bankruptcy Court, entry of the
 Confirmation Order will constitute the Bankruptcy Court’s approval of the Debtors’ foregoing
 assumption of each of the D&O Liability Insurance Policies. Notwithstanding anything to the
 contrary contained in the Plan, confirmation of the Plan will not discharge, impair or otherwise
 modify any indemnity obligations assumed by the foregoing assumption of the D&O Liability
 Insurance Policies, and each such indemnity obligation will be deemed and treated as an
 Executory Contract that has been assumed by the Debtors under the Plan as to which no Proof of
 Claim need be Filed. Notwithstanding anything to the contrary contained in the Plan,
 confirmation of the Plan will not impair or otherwise modify any rights of the Reorganized
 Debtors under the D&O Liability Insurance Policies.

         Further, the Reorganized Debtors shall be authorized and required to purchase tail
 coverage with a term of at least three (3) years from and after the termination of any existing
 director and officers’ liability insurance policies and containing the same coverage that exists
 under such policies as of the Effective Date.

 F.       Indemnification Provisions

         All Indemnification Provisions currently in place (whether in the by-laws, operating
 agreements, certificate of incorporation or organization, board resolutions, member consents,
 contracts, or otherwise) for the following: (i) the Senior Secured Notes Trustee; and (ii)
 directors, managers, officers and employees of the Debtors who served in such capacity as of the
 Petition Date with respect to or based upon any act or omission taken or omitted in such
 capacities, for or on behalf of the Debtors, will be Reinstated (or assumed, as the case may be),
 and will survive effectiveness of the Plan. No such Reinstatement or assumption shall in any
 way extend the scope or term of any Indemnification Provision beyond that contemplated in the
 underlying contract or document as applicable.

 G.       Compensation and Benefit Programs

         Except as otherwise provided in the Plan, including Article V.F hereof, which exclusively
 governs all compensation and benefits for parties covered by or included in the Key Employee
 Retention Agreements and except for any employee equity or equity-based compensation or
 incentive plan, all employment and severance policies, and all compensation and benefit plans,
 policies, and programs of the Debtors applicable to their employees and retirees that are not
 parties to, covered by or included in the Key Employee Retention Agreements, including,
 without limitation, all accrued vacation (other than accrued vacation for any employee above
 such employee’s applicable cap, which excess accrual shall be governed by a separate
 arrangement between the Debtors and such employee) vacation plans, savings plans, retirement
 plans, healthcare plans, disability plans, severance benefit plans, life, and accidental death and
 dismemberment insurance plans, are treated as Executory Contracts under the Plan and on the
 Effective Date will be assumed pursuant to the provisions of sections 365 and 1123 of the
 Bankruptcy Code and the Reorganized Debtors shall honor, in the ordinary course of business,
 all such arrangements with such employees; provided however, that the Debtors’ or Reorganized
 Debtors’ performance under any employment agreement will not entitle any person to any
 benefit or alleged entitlement under (a) the Key Employee Retention Agreements unless such
 person is explicitly named and identified in such agreements or (b) any policy, program or plan
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 that has expired or been terminated, or restore, reinstate or revive any such benefit or alleged
 entitlement under any such policy, program or plan.

 H.       Insurance Policies
         Other than the insurance policies otherwise discussed herein, all other insurance policies
 to which any Debtor is a party as of the Effective Date shall be deemed to be and treated as
 Executory Contracts and shall be assumed by the Reorganized Debtors and shall continue in full
 force and effect thereafter in accordance with their respective terms. All existing insurance
 policies shall vest in the Reorganized Debtors.

                                         ARTICLE VIII.
                             PROVISIONS GOVERNING DISTRIBUTIONS

 A.       Dates of Distributions

         Except as otherwise provided in the plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
 that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter),
 each Holder of an Allowed Claim against the Debtors shall receive the full amount of the
 distributions that the Plan provides for Allowed Claims in the applicable Class and in the manner
 provided herein. In the event that any payment or act under the Plan is required to be made or
 performed on a date that is not on a Business Day, then the making of such payment or the
 performance of such act may be completed on the next succeeding Business Day, but shall be
 deemed to have been completed as of the required date. If and to the extent there are Disputed
 Claims, distributions on account of any such Disputed Claims shall be made pursuant to the
 provisions provided in the Plan. Except as otherwise provided in the Plan, Holders of Claims
 shall not be entitled to interest, dividends or accruals on the distributions provided for therein,
 regardless of whether distributions are delivered on or at any time after the Effective Date.

         Upon the Effective Date, all Debts of the Debtors shall be deemed fixed and adjusted
 pursuant to the Plan and the Reorganized Debtors shall have no liability on account of any
 Claims or Equity Interests except as set forth in the Plan and in the Confirmation Order. All
 payments and all distributions made by the Distribution Agent under the Plan shall be in full and
 final satisfaction, settlement and release of all Claims against the Reorganized Debtors.

         At the close of business on the Distribution Record Date, the transfer ledgers for the
 Senior Secured Notes shall be closed, and there shall be no further changes in the record holders
 of such indebtedness. The Reorganized Debtors, the Distribution Agent, the Senior Secured
 Notes Trustee, and each of their respective agents, successors, and assigns shall have no
 obligation to recognize the transfer of any Senior Secured Notes occurring after the Distribution
 Record Date and shall be entitled instead to recognize and deal for all purposes hereunder with
 only those record holders stated on the transfer ledgers as of the close of business on the
 Distribution Record Date irrespective of the number of distributions to be made under the Plan to
 such Persons or the date of such distributions.

 B.       Distribution Agent

         Except as provided therein, all distributions under the Plan shall be made by the
 Reorganized Debtors as Distribution Agent, or by such other Entity designated by the Debtors as
 a Distribution Agent on the Effective Date or thereafter. The Reorganized Debtors, or such other
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 Entity designated by the Debtors to be the Distribution Agent, shall not be required to give any
 bond or surety or other security for the performance of such Distribution Agent’s duties unless
 otherwise ordered by the Bankruptcy Court.

         The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under the Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals, transfer agents and
 registrars to represent it with respect to its responsibilities; and (d) exercise such other powers as
 may be vested in the Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan,
 or as deemed by the Distribution Agent to be necessary and proper to implement the provisions
 hereof.
 C.       Cash Distributions

         Distributions of Cash may be made either by check drawn on a domestic bank or wire
 transfer from a domestic bank, at the option of the Reorganized Debtors, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as are
 necessary or customary in a particular foreign jurisdiction.

 D.       Rounding of Payments

         Whenever payment of a fraction of a cent would otherwise be called for, the actual
 payment shall reflect a rounding down of such fraction to the nearest whole dollar or zero if the
 amount is less than one dollar. To the extent that Cash, New Secured Debt, or New Membership
 Interests to be distributed under the Plan remain undistributed as a result of the rounding of such
 fraction to the nearest whole dollar, such Cash or stock shall be treated as unclaimed property
 under Article VIII.H of the Plan.

        Whenever payment of a fraction of a dollar would otherwise be called for, the actual
 payment shall reflect a rounding down of such fraction to the nearest whole dollar. To the extent
 that Cash, New Secured Debt, or New Membership Interests to be distributed under the Plan
 remain undistributed as a result of the rounding of such fraction to the nearest whole dollar, such
 Cash or stock shall be treated as unclaimed property under Article VIII.H of the Plan.

         No fractional shares shall be issued or distributed under the Plan. Each Person entitled to
 receive New Membership Interests shall receive the total number of whole New Membership
 Interests to which such Person is entitled. Whenever any distribution to a particular Person
 would otherwise call for distribution of a fraction of New Membership Interests, the actual
 distribution of such interests shall be rounded to the next lower whole number.

 E.       Distributions on Account of Claims Allowed After the Effective Date

          Except as otherwise agreed by the Holder of a particular Claim or as provided in the Plan,
 all distributions shall be made pursuant to the terms of the Plan and the Confirmation Order.
 Distributions to any Holder of an Allowed Claim shall be allocated first to the principal amount
 of any such Allowed Claim, as determined for U.S. federal income tax purposes and then, to the
 extent the consideration exceeds such amount, to the remainder of such Claim comprising
 accrued but unpaid interest, if any (but solely to the extent that interest is an allowable portion of
 such Allowed Claim). Whenever any payment of a fraction of a dollar would otherwise be
 called for, the actual distribution shall reflect a rounding of such fraction down to the nearest
 dollar.
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 F.       General Distribution Procedures
         The Reorganized Debtors, or any other duly appointed Distribution Agent, shall make all
 distributions of Cash or other property required under the Plan, unless the Plan specifically
 provides otherwise. All Cash and other property held by the Reorganized Debtors for
 distribution under the Plan shall not be subject to any claim by any Person, except as provided
 under the Plan.

 G.       Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under the Plan,
 shall be made (1) at the address set forth on any proofs of claim Filed by such Holders (to the
 extent such proofs of claim are Filed in the Chapter 11 Cases), (2) at the addresses set forth in
 any written notices of address change delivered to the Debtors, or (3) at the addresses in the
 Debtors’ books and records. Notwithstanding the foregoing, distributions to Beneficial Holders
 of Senior Secured Notes Claims shall be made to the Senior Secured Notes Trustee or its
 designee for further distribution in accordance with the Senior Secured Notes Indenture.

 H.       Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtors as undeliverable, no further distribution shall be made to such Holder, and the
 Reorganized Debtors shall have no obligation to make any further distribution to the Holder,
 unless and until the Reorganized Debtors is notified in writing of such Holder’s then current
 address.

          Any Entity that fails to claim any Cash, New Secured Debt, or New Membership
 Interests within one year from the date upon which a distribution is first made to such Entity
 shall forfeit all rights to any distribution under the Plan. Entities that fail to claim Cash shall
 forfeit their rights thereto and shall have no claim whatsoever against the Debtors or the
 Reorganized Debtors or against any Holder of an Allowed Claim to whom distributions are made
 by the Reorganized Debtors.

 I.       Withholding Taxes

         In connection with the Plan, to the extent applicable, the Reorganized Debtors shall
 comply with all tax withholding and reporting requirements imposed on them by any
 Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such
 withholding and reporting requirements. The Reorganized Debtors shall be entitled to deduct
 any U.S. federal, state or local withholding taxes from any Cash payments made with respect to
 Allowed Claims, as appropriate. As a condition to receiving any distribution under the Plan, the
 Reorganized Debtors may require that the Holder of an Allowed Claim entitled to receive a
 distribution pursuant to the Plan provide such Holder’s taxpayer identification number and such
 other information and certification as may be deemed necessary for the Reorganized Debtors to
 comply with applicable tax reporting and withholding laws. Any amounts withheld pursuant
 hereto shall be deemed to have been distributed to and received by the applicable recipient for all
 purposes of the Plan. In connection with the distribution of the New Membership Interests to
 each Holder of an Allowed Senior Secured Notes Claim, the Reorganized Debtors may take
 whatever actions are necessary to comply with applicable U.S. federal, state, local and non-U.S.
 tax withholding obligations, including, after consultation with each such Holder of an Allowed
 Senior Secured Notes Claim, either withholding from distributions a portion of the New
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 Membership Interests and selling such securities or requiring such Holder of an Allowed Senior
 Secured Notes Claim to contribute the necessary cash to satisfy the tax withholding obligations.

 J.       Setoffs
         The Reorganized Debtors may, to the extent permitted under applicable law, setoff
 against any Allowed Claim and any distributions to be made pursuant to the Plan on account of
 such Allowed Claim, the claims, rights and Causes of Action of any nature that the Reorganized
 Debtors may hold against the Holder of such Allowed Claim that are not otherwise waived,
 released or compromised in accordance with the Plan; provided, however, that neither such a
 setoff nor the allowance of any Claim hereunder shall constitute a waiver or release by the
 Reorganized Debtors of any such claims, rights and Causes of Action that the Reorganized
 Debtors possesses against such Holder.

 K.       Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution pursuant to the Plan on account of
 an Allowed Claim evidenced by the instruments, securities, notes, or other documentation
 canceled pursuant to Article V, Section M or Section N of the Plan, the Holder of such Claim
 will tender the applicable instruments, securities, notes or other documentation evidencing such
 Claim (or a sworn affidavit identifying the instruments, securities, notes or other documentation
 formerly held by such Holder and certifying that they have been lost), to Reorganized Parent or
 another applicable Distribution Agent unless waived in writing by the Debtors or the
 Reorganized Debtors, as applicable.

         If the record holder of the Senior Secured Notes is DTC or its nominee or another
 securities depository or custodian thereof, and such Senior Secured Notes are represented by a
 global security held by or on behalf of DTC or such other securities depository or custodian,
 then, upon satisfaction of the Senior Secured Notes Claims, each such Holder of the Senior
 Secured Notes shall be deemed to have surrendered such Holder’s note, debenture or other
 evidence of indebtedness upon surrender of such global security by DTC or such other securities
 depository or custodian thereof.

         Notwithstanding anything in this Plan to the contrary, in connection with any distribution
 under this Plan to be effected through the facilities of DTC (whether by means of book-entry
 exchange, free delivery, or otherwise), the Debtors and the Reorganized Debtors, as applicable,
 will be entitled to recognize and deal for all purposes under this Plan with holders of New
 Membership Interests in a manner consistent with the customary practices of DTC used in
 connection with such distributions. All New Membership Interests to be distributed under this
 Plan shall be issued in the names of such holders or their nominees in accordance with DTC’s
 book-entry exchange procedures; provided, that such New Membership Interests are permitted to
 be held through DTC’s book-entry system; and provided, further, that to the extent the New
 Membership Interests are not eligible for distribution in accordance with DTC’s customary
 practices, Reorganized Parent will take all such reasonable actions as may be required to cause
 distributions of the New Membership Interests under this Plan.

 L.       Lost, Stolen, Mutilated or Destroyed Securities

        In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
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 by the Plan, deliver to Reorganized Parent and other applicable Distribution Agent: (x) evidence
 reasonably satisfactory to Reorganized Parent and other applicable Distribution Agent of such
 loss, theft, mutilation, or destruction; and (y) such security or indemnity as may be required by
 Reorganized Parent and other applicable Distribution Agent to hold such party harmless from
 any damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
 Claim or Allowed Equity Interest. Upon compliance with Article VIII.K of the Plan as
 determined by the Debtors or Reorganized Debtors by a Holder of a Claim or Equity Interest
 evidenced by a security or note, such Holder will, for all purposes under the Plan, be deemed to
 have surrendered such security or note to Reorganized Parent and other applicable Distribution
 Agents.
                                      ARTICLE IX.
                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED AND DISPUTED CLAIMS

 A.       Disputed Claims

         The Reorganized Debtors may, in their discretion, file with the Bankruptcy Court an
 objection to the allowance of any Disputed Claim or any other appropriate motion or adversary
 proceeding with respect thereto. All such objections shall be litigated to Final Order, provided,
 however, that the Reorganized Debtors, may compromise, settle, withdraw or resolve any
 objections to Claims without further order of the Bankruptcy Court. Unless otherwise provided
 in the Confirmation Order, the Reorganized Debtors are authorized to settle, or withdraw any
 objections to, any Disputed Claim following the Effective Date without further notice to
 creditors or authorization of the Bankruptcy Court, in which event such Claim shall be deemed to
 be an Allowed Claim in the amount compromised for purposes of the Plan. Under no
 circumstances will any distributions be made on account of Disallowed Claims. The
 Reorganized Debtors are under no obligation to object to the allowance of any Claim to the
 extent that there are no assets available to make a distribution to the Holder of such Claim or
 such Class of Claims under the Plan.

 B.       Procedures Regarding Disputed Claims

        No payment or other distribution or treatment shall be made on account of a Disputed
 Claim, even if a portion of the Claim is not disputed, unless and until such Disputed Claim
 becomes an Allowed Claim and the amount of such Allowed Claim is determined by a Final
 Order or by stipulation between the Debtors and the Holder of the Claim. No distribution or
 other payment or treatment shall be made on account of a Disallowed Claim at any time.

         The Debtors (prior to the Effective Date) or the Reorganized Debtors (after the Effective
 Date) may, at any time and from time to time, request that the Bankruptcy Court estimate any
 Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of whether an
 objection was previously Filed with the Bankruptcy Court with respect to such Claim, or whether
 the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
 jurisdiction to estimate any Claim at any time during litigation concerning any objection to any
 Claim, including during the pendency of any appeal relating to such objection. Any Final Order
 of the Bankruptcy Court that estimates a Disputed Claim pursuant to the Plan shall irrevocably
 constitute and be a conclusive and final determination of the maximum allowable amount of
 Claim, should it become an Allowed Claim. Accordingly, the Holder of a Disputed Claim that is
 estimated by the Bankruptcy Court pursuant to the Plan will not be entitled to any subsequent
 reconsideration or upward adjustment of the maximum allowable amount of such Claim as a
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 result of any subsequent adjudication or actual determination of the allowed amount of such
 Disputed Claim or otherwise, and the Holder of such Claim shall not have recourse to the
 Debtors or the Reorganized Debtors in the event the allowed amount of the Claim of such Holder
 is at any time later determined to exceed the estimated maximum allowable amount.

 C.       Allowance of Claims
        Following the date on which a Disputed Claim becomes an Allowed Claim after the
 Distribution Date, the Reorganized Debtors shall pay directly to the Holder of such Allowed
 Claim the amount provided for under the Plan, as applicable, and in accordance therewith.

                   1.        Allowance of Claims

         Notwithstanding anything to the contrary herein, after the Effective Date and subject to
 the other provisions of the Plan, the Reorganized Debtors will have and will retain any and all
 rights and defenses under bankruptcy or nonbankruptcy law that the Debtors had with respect to
 any Claim or Equity Interest, except with respect to any Claim or Equity Interest deemed
 Allowed under the Plan or by orders of the Bankruptcy Court. Except as expressly provided in
 the Plan or in any order entered in the Chapter 11 Cases prior to the Effective Date (including,
 without limitation, the Confirmation Order), no Claim or Equity Interest will become an Allowed
 Claim unless and until such Claim or Equity Interest is deemed Allowed under the Plan or the
 Bankruptcy Code or the Bankruptcy Court has entered a Final Order, including, without
 limitation, the Confirmation Order, in the Chapter 11 Cases allowing such Claim or Equity
 Interest.

                   2.        Prosecution of Objections to Claims and Equity Interests

         After the Confirmation Date but before the Effective Date, the Debtors and, after the
 Effective Date, the Reorganized Debtors, will have the exclusive authority to File objections to
 Claims and settle, compromise, withdraw or litigate to judgment objections to any and all
 Claims, regardless of whether such Claims or Equity Interests are in an Unimpaired Class or
 otherwise. From and after the Effective Date, the Reorganized Debtors may settle or
 compromise any Disputed Claim or Equity.

        Interest without any further notice to or action, order or approval of the Bankruptcy
 Court. The Reorganized Debtors will have the sole authority to administer and adjust the Claims
 Register to reflect any such settlements or compromises without any further notice to or action,
 order or approval of the Bankruptcy Court.

                   3.        Estimation

         The Debtors (prior to the Effective Date) or the Reorganized Debtors (after the Effective
 Date) may, at any time, request that the Bankruptcy Court estimate (a) any Disputed Claim or
 Equity Interest pursuant to applicable law and (b) any contingent or unliquidated Claim or Equity
 Interest pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Equity Interest, contingent Claim or Equity Interest or
 unliquidated Claim or Equity Interest, including during the litigation concerning any objection to
 any Claim or Equity Interest or during the pendency of any appeal relating to any such objection.
 All of the aforementioned objection, estimation and resolution procedures are cumulative and not
 exclusive of one another. Claims or Equity Interests may be estimated and subsequently
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 compromised, settled, withdrawn or resolved by any mechanism approved by the Bankruptcy
 Court. The rights and objections of all parties are reserved in connection with any such
 estimation proceeding.

                                  ARTICLE X.
               CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN
 A.       Conditions Precedent to Consummation

        Consummation of the Plan will be conditioned upon the satisfaction or waiver pursuant to
 the provisions of Article X.B of the Plan of the following:

          a.       The Bankruptcy Court will have entered a Final Order by no later than June 30,
                   2019 (unless such date is extended with the written consent of the Debtors and the
                   Supporting Noteholders) in form and in substance satisfactory to the Debtors and
                   the Supporting Noteholders approving the Disclosure Statement with respect to
                   the Plan as containing adequate information within the meaning of section 1125
                   of the Bankruptcy Code and confirming the Plan.

          b.       The Plan and Plan Supplement and all schedules, documents, supplements and
                   exhibits to the Plan will have been Filed in form and substance acceptable to the
                   Debtors and the Supporting Noteholders.

          c.       The proposed Confirmation Order will be in form and substance acceptable to the
                   Debtors and the Supporting Noteholders.

          d.       The Confirmation Order shall have been entered and shall be a Final Order in
                   form and substance acceptable to the Debtors and Supporting Noteholders. The
                   Confirmation Order will provide that, among other things, (a) the Debtors, the
                   Reorganized Debtors, the Litigation Trustee, the Litigation Trust Oversight
                   Committee and the Fuse Litigation Trust, as applicable, are authorized to take all
                   actions necessary or appropriate to consummate the Plan and the Restructuring
                   Transactions, including, without limitation, (i) entering into, implementing and
                   consummating the contracts, instruments, releases, leases, indentures and other
                   agreements or documents created in connection with or described in the Plan, (ii)
                   distributing the New Membership Interests pursuant to the exemptions from
                   registration under section 3(a)(9) and/or section 4(a)(2) of the Securities Act, Rule
                   701 et seq. under the Securities Act or section 1145 of the Bankruptcy Code or
                   other exemption from such registration or pursuant to one or more registration
                   statements, (iii) making all distributions and issuances as required under the Plan,
                   including Cash and the New Membership Interests; and (iv) entering into any
                   agreements, transactions, and sales of property as set forth in the Plan
                   Supplement, including the New Secured Debt and the Key Employee Retention
                   Agreements and the awards contemplated thereunder; (b) the provisions of the
                   Confirmation Order and the Plan are nonseverable and mutually dependent;
                   (c) the implementation of the Plan in accordance with its terms is authorized; and
                   (d) pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender
                   of any lease or sublease, and the delivery of any deed or other instrument or
                   transfer order, in furtherance of, or in connection with the Plan, including any
                   deeds, bills of sale, or assignments executed in connection with any disposition or

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                   transfer of Assets contemplated under the Plan, shall not be subject to any Stamp
                   or Similar Tax.

          e.       The Bankruptcy Court will have entered one or more Final Orders (which may
                   include the Confirmation Order), in form and substance acceptable to the Debtors
                   and Supporting Noteholders, authorizing the assumption and rejection of
                   Executory Contracts and Unexpired Leases by the Debtors as contemplated in the
                   Plan and the Plan Supplement.

          f.       All documents and agreements necessary to implement the Plan, including
                   without limitation, the New Secured Debt Documents, the New Membership
                   Interests, the New Organizational Documents and the Key Employee Retention
                   Agreements, in each case in form and substance acceptable to the Debtors and the
                   Supporting Noteholders, will have (a) been tendered for delivery, and (b) been
                   effected by, executed by, or otherwise deemed binding upon, all Entities party
                   thereto. All conditions precedent to such documents and agreements will have
                   been satisfied or waived pursuant to the terms of such documents or agreements.

          g.       All consents, actions, documents, certificates and agreements necessary to
                   implement the Plan, including, without limitation, the New Organizational
                   Documents, will have been effected or executed and delivered to the required
                   parties and, to the extent required, filed with the applicable governmental units in
                   accordance with applicable laws.

          h.       The Confirmation Date will have occurred.

          i.       The New Secured Debt Documents shall have been executed and delivered by all
                   of the parties thereto, and all conditions precedent (other than any conditions
                   related to the occurrence of the Effective Date) to the consummation of the New
                   Secured Debt, if applicable, shall have been waived or satisfied in accordance
                   with the terms thereof, and the closing of the New Secured Debt, if applicable,
                   shall be deemed to occur concurrently with the occurrence of the Effective Date.

          j.       The Restructuring Expenses and the Senior Secured Notes Trustee Fees shall have
                   been paid in full to the extent not otherwise paid in accordance with the Cash
                   Collateral Order.

          k.       The Debtors shall have implemented the Restructuring Transactions in a manner
                   consistent with the Plan pursuant to the documentation acceptable to the Debtors
                   and the Supporting Noteholders.

 B.       Waiver of Conditions

        The conditions to Consummation of the Plan set forth in this Article X may be waived by
 the Debtors with the consent of the Supporting Noteholders and the Senior Secured Notes
 Trustee (solely with respect to the condition set forth in Article X.A(j)) without notice, leave or
 order of the Bankruptcy Court or any formal action other than proceeding to confirm or
 consummate the Plan. To the extent that a condition to Consummation of the Plan requires the
 consent of the Supporting Noteholders or the Senior Secured Notes Trustee, such conditions may
 only be waived by the Debtors with the consent of the Supporting Noteholders or the Senior
 Secured Notes Trustee, as applicable. The failure to satisfy or waive a condition to
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 Consummation may be asserted by the Debtors or the Reorganized Debtors, the Supporting
 Noteholders or the Senior Secured Notes Trustee (solely with respect to the condition set forth in
 Article X.A(j)) regardless of the circumstances giving rise to the failure of such condition to be
 satisfied. The failure of the Debtors or Reorganized Debtors, the Supporting Noteholders or the
 Senior Secured Notes Trustee to exercise any of the foregoing rights will not be deemed a waiver
 of any other rights, and each right will be deemed an ongoing right that may be asserted at any
 time.

 C.       Effect of Non-Occurrence of Conditions to Consummation
         If the Consummation of the Plan does not occur, the Plan will be null and void in all
 respects and nothing contained in the Plan or the Disclosure Statement will: (a) constitute a
 waiver or release of any claims by or Claims against or Equity Interests in the Debtors; (b)
 prejudice in any manner the rights of the Debtors, any Holders or any other Entity; (c) constitute
 an Allowance of any Claim or Equity Interest; or (d) constitute an admission, acknowledgment,
 offer or undertaking by the Debtors, any Holders or any other Entity in any respect.

                                     ARTICLE XI.
                     RELEASE, INJUNCTION AND RELATED PROVISIONS

 A.       General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of
 equitable subordination, section 510 of the Bankruptcy Code or otherwise.

         In accordance with the provisions of the Plan and pursuant to section 363 of the
 Bankruptcy Code and Bankruptcy Rule 9019, without any further notice to or action, order or
 approval of the Bankruptcy Court, after the Effective Date (1) the Reorganized Debtors may, in
 their sole and absolute discretion, compromise and settle Claims against them and (2) the
 Reorganized Debtors may, in their sole and absolute discretion, compromise and settle Causes of
 Action against other Entities.

 B.       Release

       EFFECTIVE AS OF THE EFFECTIVE DATE, FOR GOOD AND VALUABLE
 CONSIDERATION PROVIDED BY EACH OF THE RELEASED PARTIES, THE
 ADEQUACY OF WHICH IS HEREBY ACKNOWLEDGED AND CONFIRMED, THE
 DEBTORS AND THE REORGANIZED DEBTORS, IN THEIR INDIVIDUAL CAPACITIES
 AND AS DEBTORS-IN-POSSESSION, THE FUSE LITIGATION TRUST AND THE
 LITIGATION TRUSTEE (COLLECTIVELY, THE “RELEASING PARTIES”) WILL BE
 DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY, UNCONDITIONALLY,
 IRREVOCABLY, AND FOREVER PROVIDED A FULL DISCHARGE, WAIVER AND
 RELEASE TO THE RELEASED PARTIES (AND EACH SUCH RELEASED PARTY SO
 RELEASED SHALL BE DEEMED FOREVER RELEASED, WAIVED AND DISCHARGED
 BY THE RELEASING PARTIES) AND THEIR RESPECTIVE PROPERTIES FROM ANY
 AND ALL CLAIMS, CAUSES OF ACTION, LITIGATION CLAIMS AND ANY OTHER
 DEBTS, OBLIGATIONS, RIGHTS, SUITS, DAMAGES, ACTIONS, REMEDIES, AND
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 LIABILITIES WHATSOEVER, WHETHER KNOWN OR UNKNOWN, FORESEEN OR
 UNFORESEEN, EXISTING AS OF THE EFFECTIVE DATE OR THEREAFTER ARISING,
 IN LAW, AT EQUITY, WHETHER FOR TORT, CONTRACT, OR OTHERWISE, BASED IN
 WHOLE OR IN PART UPON ANY ACT OR OMISSION, TRANSACTION, OR OTHER
 OCCURRENCE OR CIRCUMSTANCES EXISTING OR TAKING PLACE PRIOR TO OR
 ON THE EFFECTIVE DATE ARISING FROM OR RELATED IN ANY WAY IN WHOLE
 OR IN PART TO THE DEBTORS, THE CHAPTER 11 CASES, THE DISCLOSURE
 STATEMENT, THE PLAN OR THE SOLICITATION OF VOTES ON THE PLAN THAT
 SUCH RELEASING PARTY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
 (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR THAT ANY HOLDER OF A
 CLAIM OR EQUITY INTEREST OR OTHER ENTITY WOULD HAVE BEEN LEGALLY
 ENTITLED TO ASSERT FOR OR ON BEHALF OF THE DEBTORS, THEIR ESTATES OR
 THE REORGANIZED DEBTORS (WHETHER DIRECTLY OR DERIVATIVELY)
 AGAINST ANY OF THE RELEASED PARTIES; PROVIDED, HOWEVER, THAT THE
 FOREGOING PROVISIONS OF THIS RELEASE SHALL NOT OPERATE TO WAIVE OR
 RELEASE (I) ANY OFFSET, DEFENSE, COUNTERCLAIM, REDUCTION, OR CREDIT
 THAT THE DEBTORS OR REORGANIZED DEBTORS MAY HAVE WITH REGARD TO
 ANY CLAIM ASSERTED AGAINST THEM BY A RELEASED PARTY, (II) ANY CAUSES
 OF ACTION EXPRESSLY SET FORTH IN AND PRESERVED BY THE PLAN OR THE
 PLAN SUPPLEMENT; (III) ANY CAUSES OF ACTION ARISING FROM FRAUD, GROSS
 NEGLIGENCE, OR WILLFUL MISCONDUCT AS DETERMINED BY FINAL ORDER OF
 THE BANKRUPTCY COURT OR ANY OTHER COURT OF COMPETENT JURISDICTION;
 AND/OR (IV) THE RIGHTS OF SUCH RELEASING PARTY TO ENFORCE THE PLAN
 AND THE CONTRACTS, INSTRUMENTS, RELEASES, INDENTURES, AND OTHER
 AGREEMENTS OR DOCUMENTS DELIVERED UNDER OR IN CONNECTION WITH
 THE PLAN OR ASSUMED PURSUANT TO THE PLAN OR ASSUMED PURSUANT TO
 FINAL ORDER OF THE BANKRUPTCY COURT. THE FOREGOING RELEASE SHALL
 BE EFFECTIVE AS OF THE EFFECTIVE DATE WITHOUT FURTHER NOTICE TO OR
 ORDER OF THE BANKRUPTCY COURT, ACT OR ACTION UNDER APPLICABLE LAW,
 REGULATION, ORDER, OR RULE AND WITHOUT NEED FOR ANY NOTICE TO OR
 ANY VOTE, CONSENT, AUTHORIZATION, APPROVAL, RATIFICATION OR OTHER
 ACTION BY ANY ENTITY OR OTHER PERSON OR ANY DIRECTOR, STOCKHOLDER,
 SECURITY HOLDER, MANAGER, MEMBER, OR PARTNER (OR BOARD THEREOF) OF
 ANY ENTITY AND THE CONFIRMATION ORDER WILL PERMANENTLY ENJOIN THE
 COMMENCEMENT OR PROSECUTION BY ANY PERSON OR ENTITY, WHETHER
 DIRECTLY, DERIVATIVELY OR OTHERWISE, OF ANY CLAIMS, OBLIGATIONS,
 SUITS, JUDGMENTS, DAMAGES, DEMANDS, DEBTS, RIGHTS, CAUSES OF ACTION,
 OR LIABILITIES RELEASED PURSUANT TO THIS RELEASE. NOTWITHSTANDING
 THE FOREGOING, THE DEBTORS ARE NOT RELEASING THE DEBTORS (BUT THEY
 ARE RELEASING THE RELATED PERSONS TO THE DEBTORS PURSUANT TO THIS
 PARAGRAPH).

                                     ARTICLE XII.
                       THIRD PARTY RELEASE BY HOLDERS OF CLAIMS

      AS OF AND SUBJECT TO THE OCCURRENCE OF THE EFFECTIVE DATE,
 EXCEPT FOR THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE
 EFFECTIVE DATE TO ENFORCE THIS PLAN AND THE PLAN DOCUMENTS, FOR
 GOOD AND VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH IS HEREBY
 CONFIRMED, INCLUDING, WITHOUT LIMITATION, THE SERVICE OF THE
 RELEASED PARTIES TO FACILITATE THE REORGANIZATION OF THE DEBTORS
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 AND THE IMPLEMENTATION OF THE RESTRUCTURING AND THE RESTRUCTURING
 TRANSACTIONS, AND EXCEPT AS OTHERWISE PROVIDED IN THIS PLAN OR IN THE
 CONFIRMATION ORDER, THE RELEASED PARTIES ARE DEEMED FOREVER
 RELEASED AND DISCHARGED BY THE (I) THE HOLDERS OF ALL CLAIMS WHO
 VOTE TO ACCEPT THIS PLAN, (II) HOLDERS OF CLAIMS THAT ARE UNIMPAIRED
 UNDER THIS PLAN, (III) HOLDERS OF CLAIMS WHOSE VOTE TO ACCEPT OR
 REJECT THIS PLAN IS SOLICITED BUT WHO DO NOT VOTE EITHER TO ACCEPT OR
 TO REJECT THIS PLAN, (IV) HOLDERS OF CLAIMS WHO VOTE TO REJECT THIS
 PLAN BUT DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH HEREIN,
 AND (V) THE SENIOR SECURED NOTES TRUSTEE, FROM ANY AND ALL CLAIMS,
 INTERESTS, OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES, DEMANDS, DEBTS,
 RIGHTS, CAUSES OF ACTION, LOSSES, REMEDIES, AND LIABILITIES
 WHATSOEVER, INCLUDING ANY DERIVATIVE CLAIMS, WHETHER KNOWN OR
 UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING OR HEREINAFTER ARISING, IN
 LAW, EQUITY, OR OTHERWISE, THAT SUCH HOLDERS OR THEIR AFFILIATES
 WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT
 (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER
 OF ANY CLAIM OR OTHER ENTITY, BASED ON OR RELATING TO, OR IN ANY
 MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE CHAPTER 11
 CASES, THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE OR SALE OF
 ANY SECURITY OF THE DEBTORS OR THE REORGANIZED DEBTORS, THE SUBJECT
 MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
 INTEREST THAT IS TREATED IN THIS PLAN, THE BUSINESS OR CONTRACTUAL
 ARRANGEMENTS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
 RESTRUCTURING, THE RESTRUCTURING OF ANY CLAIM OR INTEREST BEFORE
 OR DURING THE CHAPTER 11 CASES, THE RESTRUCTURING TRANSACTIONS, THE
 NEGOTIATION, FORMULATION, OR PREPARATION OF THE DISCLOSURE
 STATEMENT, THIS PLAN, THE NEW SECURED DEBT DOCUMENTS AND RELATED
 AGREEMENTS, INSTRUMENTS, AND OTHER DOCUMENTS (INCLUDING THE PLAN
 DOCUMENTS), THE SOLICITATION OF VOTES WITH RESPECT TO THIS PLAN, OR
 ANY OTHER ACT OR OMISSION, OTHER THAN CLAIMS OR CAUSES OF ACTION
 ARISING OUT OF OR RELATED TO ANY ACT OR OMISSION OF A RELEASED PARTY
 THAT IS A CRIMINAL ACT OR CONSTITUTES INTENTIONAL FRAUD, GROSS
 NEGLIGENCE, OR WILLFUL MISCONDUCT.

 A.       Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code, except as otherwise expressly provided by the Plan or the
 Confirmation Order, all consideration distributed under the Plan will be in exchange for, and in
 complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
 any kind or nature whatsoever against the Debtors or any of their Assets or properties, and
 regardless of whether any property will have been distributed or retained pursuant to the Plan on
 account of such Claims or Equity Interests. Except as otherwise expressly provided by the Plan
 or the Confirmation Order, upon the Effective Date, the Debtors and their Estates will be deemed
 discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
 other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
 of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
 before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
 502(i) of the Bankruptcy Code.

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 B.       Exculpation
         The Exculpated Parties will neither have nor incur any liability to any Entity for any
 claims or Causes of Action arising before, on or after the Petition Date and prior to or on the
 Effective Date for any act taken or omitted to be taken in connection with, or related to
 formulating, negotiating, preparing, disseminating, implementing, administering, confirming or
 effecting the Consummation of the Plan, the Disclosure Statement or any contract, instrument,
 release or other agreement or document created or entered into in connection with the Plan or
 any other prepetition or postpetition act taken or omitted to be taken in connection with or in
 contemplation of the restructuring of the Debtors, the approval of the Disclosure Statement or
 confirmation or Consummation of the Plan; provided, however, that the foregoing provisions will
 have no effect on the liability of any Entity that results from any such act or omission that is
 determined in a Final Order of the Bankruptcy Court or other court of competent jurisdiction to
 have constituted gross negligence or willful misconduct; provided, further, that each Exculpated
 Party will be entitled to rely upon the advice of counsel concerning its duties pursuant to, or in
 connection with, the above referenced documents, actions or inactions; provided, further,
 however that the foregoing provisions will not apply to any acts, omissions, Claims, Causes of
 Action or other obligations expressly set forth in and preserved by the Plan or the Plan
 Supplement.

 C.       Injunction

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN, FROM AND AFTER THE
 EFFECTIVE DATE, ALL ENTITIES ARE PERMANENTLY ENJOINED FROM
 COMMENCING OR CONTINUING IN ANY MANNER, ANY SUIT, ACTION OR OTHER
 PROCEEDING, OR CREATING, PERFECTING OR ENFORCING ANY LIEN OF ANY
 KIND, ON ACCOUNT OF OR RESPECTING ANY CLAIM, DEMAND, LIABILITY,
 OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, EQUITY INTEREST, OR REMEDY
 RELEASED OR TO BE RELEASED, EXCULPATED OR TO BE EXCULPATED, OR
 DISCHARGED OR TO BE DISCHARGED PURSUANT TO THE PLAN OR THE
 CONFIRMATION ORDER. BY ACCEPTING DISTRIBUTIONS PURSUANT TO THE
 PLAN, EACH HOLDER OF AN ALLOWED CLAIM OR EQUITY INTEREST WILL BE
 DEEMED TO HAVE SPECIFICALLY CONSENTED TO THIS INJUNCTION. ALL
 INJUNCTIONS OR STAYS PROVIDED FOR IN THE CHAPTER 11 CASES UNDER
 SECTION 105 OR 362 OF THE BANKRUPTCY CODE, OR OTHERWISE, AND IN
 EXISTENCE ON THE CONFIRMATION DATE, WILL REMAIN IN FULL FORCE AND
 EFFECT UNTIL THE EFFECTIVE DATE.

                                      ARTICLE XIII.
                                 BINDING NATURE OF PLAN

      ON THE EFFECTIVE DATE, AND EFFECTIVE AS OF THE EFFECTIVE DATE,
 THE PLAN WILL BIND, AND WILL BE DEEMED BINDING UPON, ALL HOLDERS OF
 CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTORS AND SUCH
 HOLDER’S RESPECTIVE SUCCESSORS AND ASSIGNS, TO THE MAXIMUM EXTENT
 PERMITTED BY APPLICABLE LAW, NOTWITHSTANDING WHETHER OR NOT SUCH
 HOLDER (I) WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN
 PROPERTY UNDER THE PLAN, (II) HAS FILED A PROOF OF CLAIM OR INTEREST IN
 THE CHAPTER 11 CASES OR (III) FAILED TO VOTE TO ACCEPT OR REJECT THE
 PLAN OR AFFIRMATIVELY VOTED TO REJECT THE PLAN.

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                                          ARTICLE XIV.
                                    RETENTION OF JURISDICTION
         Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and notwithstanding the
 entry of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court
 shall, after the Effective Date, retain such jurisdiction over the Chapter 11 Cases and all Entities
 with respect to all matters related to the Chapter 11 Cases, the Debtors and this Plan as legally
 permissible, including, without limitation, jurisdiction to:

                 1.     allow, disallow, determine, liquidate, classify, estimate or establish the
 priority, secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
 without limitation, the resolution of any request for payment of any Administrative Expense
 Claim and the resolution of any and all objections to the allowance or priority of any Claim or
 Equity Interest;

                2.       grant or deny any applications for allowance of compensation or
 reimbursement of expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods
 ending on or before the Confirmation Date; provided, however, that, from and after the Effective
 Date, the Reorganized Debtors and the Fuse Litigation Trust shall pay Professionals in the
 ordinary course of business for any work performed after the Effective Date and such payment
 shall not be subject to the approval of the Bankruptcy Court;

                 3.      resolve any matters related to the assumption, assignment or rejection of
 any Executory Contract or Unexpired Lease to which any Debtor is party or with respect to
 which any Debtor or Reorganized Debtor may be liable and to adjudicate and, if necessary,
 liquidate, any Claims arising therefrom, including, without limitation, those matters related to
 any amendment to this Plan after the Effective Date to add Executory Contracts or Unexpired
 Leases to the list of Executory Contracts and Unexpired Leases to be assumed;

                   4.        resolve any issues related to any matters adjudicated in the Chapter 11
 Cases;

                5.      ensure that distributions to Holders of Allowed Claims are accomplished
 pursuant to the provisions of this Plan;

                 6.      decide or resolve any motions, adversary proceedings, contested or
 litigated matters and any other Causes of Action that are pending as of the Effective Date or that
 may be commenced in the future, and grant or deny any applications involving the Debtors that
 may be pending on the Effective Date or instituted by the Reorganized Debtors after the
 Effective Date, provided that the Reorganized Debtors shall reserve the right to commence
 actions in all appropriate forums and jurisdictions;

                7.     enter such orders as may be necessary or appropriate to implement or
 consummate the provisions of this Plan and all other contracts, instruments, releases, indentures
 and other agreements or documents adopted in connection with this Plan, the Plan Supplement or
 the Disclosure Statement;

                8.      resolve any cases, controversies, suits or disputes that may arise in
 connection with the Consummation, interpretation or enforcement of this Plan or any Entity’s
 obligations incurred in connection with this Plan; provided, however, that any dispute arising

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 under or in connection with the New Secured Debt Documents shall be dealt with in accordance
 with the provisions of the applicable document;

                9.      hear and determine all Causes of Action that are pending as of the
 Effective Date or that may be commenced in the future;

                10.     issue injunctions and enforce them, enter and implement other orders or
 take such other actions as may be necessary or appropriate to restrain interference by any Entity
 with Consummation or enforcement of this Plan, except as otherwise provided in this Plan;

                   11.       enforce the terms and condition of this Plan and the Confirmation Order;
                12.     resolve any cases, controversies, suits or disputes with respect to the
 Release, the Exculpation, the Indemnification Provisions and other provisions contained in
 Article XI and XII hereof and enter such orders or take such others actions as may be necessary
 or appropriate to implement or enforce all such releases, injunctions and other provisions;

              13.     hear and determine the Litigation Claims by or on behalf of the Debtors or
 Reorganized Debtors;

                14.    enter and implement such orders or take such others actions as may be
 necessary or appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
 vacated;

                 15.    resolve any other matters that may arise in connection with or relate to this
 Plan, the Disclosure Statement, the Confirmation Order, the Litigation Trust Agreement or any
 contract, instrument, release, indenture or other agreement or document adopted in connection
 with this Plan or the Disclosure Statement; provided, however, that any dispute arising under or
 in connection with the New Secured Debt Documents shall be dealt with in accordance with the
 provisions of the applicable document; and

                   16.       enter an order concluding or closing the Chapter 11 Cases.

                                          ARTICLE XV.
                                    MISCELLANEOUS PROVISIONS

 A.       Dissolution of the Committee

         On the Effective Date, the Committee (if any) and any other statutory committee formed
 in connection with the Chapter 11 Cases shall dissolve automatically and all members thereof
 shall be released and discharged from all rights, duties and responsibilities arising from, or
 related to, the Chapter 11 Cases.

 B.       Payment of Statutory Fees

       All outstanding fees payable pursuant to 28 U.S.C. § 1930 shall be paid on the Effective
 Date. All such fees payable after the Effective Date shall be paid prior to the closing of the
 Chapter 11 Case when due or as soon thereafter as practicable.



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 C.       Payment of Fees and Expenses of Senior Secured Notes Trustee
        On the Effective Date or as soon as reasonably practicable thereafter (and, thereafter,
 upon request by the Senior Secured Notes Trustee with respect to fees and expenses of the Senior
 Secured Notes Trustee relating to post-Effective Date service under this Plan), the Reorganized
 Debtors shall pay in full in Cash all outstanding Senior Secured Notes Trustee Fees to the extent
 not otherwise paid in accordance with the Cash Collateral Order and subject to the terms of the
 Senior Secured Notes Indenture. Nothing herein shall be deemed to limit the right of the Senior
 Secured Notes Trustee to exercise the Senior Secured Notes Trustee Charging Lien (including
 with respect to any Senior Secured Notes Trustee Fees and expenses that are not paid by the
 Reorganized Debtors pursuant to this section).

 D.       Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtors reserve the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, with the consent of the Senior Secured Notes Trustee (solely with respect to
 the condition set forth in Article X.A(j) and the inclusion of the Senior Secured Notes Trustee
 and the Supporting Noteholders as “Released Parties” and “Exculpated Parties”), to amend or
 modify this Plan prior to the entry of the Confirmation Order; and (b) after the entry of the
 Confirmation Order, the Debtors or the Reorganized Debtors, as applicable, may, after notice
 and hearing and entry of an order of the Bankruptcy Court, amend or modify this Plan, in
 accordance with section 1127(b) of the Bankruptcy Code or remedy any defect or omission or
 reconcile any inconsistency in this Plan in such manner as may be necessary to carry out the
 purpose and intent of this Plan. A Holder of a Claim or Equity Interest that has accepted this
 Plan shall be deemed to have accepted this Plan, as altered, amended or modified, if the proposed
 alteration, amendment or modification does not materially and adversely change the treatment of
 such Claim or Equity Interest of such Holder.

 E.       Revocation of Plan

         The Debtors reserve the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File subsequent chapter 11 plans. If the Debtors revoke or withdraw this Plan, or if
 confirmation of this Plan or Consummation of this Plan does not occur, then: (1) this Plan shall
 be null and void in all respects; (2) any settlement or compromise embodied in this Plan,
 assumption or rejection of Executory Contracts or Unexpired Leases effected by this Plan and
 any document or agreement executed pursuant hereto shall be deemed null and void except as
 may be set forth in a separate order entered by the Bankruptcy Court; and (3) nothing contained
 in this Plan shall: (a) constitute a waiver or release of any Claims by or against, or any Equity
 Interests in, the Debtors or any other Entity; (b) prejudice in any manner the rights of the Debtors
 or any other Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any
 sort by the Debtors or any other Entity.

 F.       Entire Agreement

        Except as otherwise described herein, the Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into the Plan.



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 G.       Closing of Chapter 11 Cases
        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11
 Cases, file with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
 applicable order of the Bankruptcy Court to close the Chapter 11 Cases.

 H.       Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtors and their
 respective successors and assigns, including, without limitation, the Reorganized Debtors and the
 Fuse Litigation Trust. The rights, benefits, and obligations of any Person or Entity named or
 referred to in this Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
 administrator, successor, or assign of such Person or Entity.

 I.       Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and
 until the Bankruptcy Court enters the Confirmation Order and this Plan is Consummated.
 Neither the filing of this Plan, any statement or provision contained herein, nor the taking of any
 action by the Debtors or any other Entity with respect to this Plan shall be or shall be deemed to
 be an admission or waiver of any rights of: (1) the Debtors with respect to the Holders of Claims
 or Equity Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other
 Entity prior to the Effective Date.

         Neither the exclusion or inclusion by the Debtors of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Supplement, nor anything contained in this
 Plan, will constitute an admission by the Debtors that any such contract or lease is or is not an
 executory contract or unexpired lease or that the Debtors or the Reorganized Debtors or their
 respective affiliates has any liability thereunder.

         Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
 Debtors or the Reorganized Debtors under any executory or non-executory contract or unexpired
 or expired lease.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as applicable, under any
 executory or non-executory contract or unexpired or expired lease.

         If there is a dispute regarding whether a contract or lease is or was executory or
 unexpired at the time of its assumption under this Plan, the Debtors or Reorganized Debtors, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract or lease.

 J.       Further Assurances

         The Debtors or the Reorganized Debtors, as applicable, all Holders of Claims or Equity
 Interests receiving distributions hereunder and all other Entities shall, from time to time, prepare,
 execute and deliver any agreements or documents and take any other actions as may be
 necessary or advisable to effectuate the provisions and intent of this Plan or the Confirmation
 Order. On or before the Effective Date, the Debtors shall File with the Bankruptcy Court all
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 agreements and other documents that may be necessary or appropriate to effectuate and further
 evidence the terms and conditions hereof.

 K.     Severability
         If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the
 power to alter and interpret such term or provision to make it valid or enforceable to the
 maximum extent practicable, consistent with the original purpose of the term or provision held to
 be invalid, void, or unenforceable, and such term or provision will then be applicable as altered
 or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
 the terms and provisions of this Plan will remain in full force and effect and will in no way be
 affected, impaired, or invalidated by such holding, alteration, or interpretation. The
 Confirmation Order will constitute a judicial determination and will provide that each term and
 provision of this Plan, as it may have been altered or interpreted in accordance with the
 foregoing, is valid and enforceable pursuant to its terms.

 L.     Service of Documents

         All notices, requests, and demands to or upon the Debtors, the Reorganized Debtors or
 the Fuse Litigation Trust to be effective shall be in writing and, unless otherwise expressly
 provided herein, shall be deemed to have been duly given or made when actually delivered or, in
 the case of notice by facsimile transmission, when received and telephonically confirmed,
 addressed as follows:

                Fuse, LLC, et al.
                700 North Central Avenue, Suite 600
                Glendale, CA 91203
                Attn: Miguel Roggero, Interim Chief Executive Officer

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                919 North Market Street, 17th Floor
                Wilmington, DE 19899-8705 (Courier 19801)
                Attn: Richard M. Pachulski, Esq., Ira D. Kharasch, Esq.,
                       Maxim B. Litvak, Esq., James E. O’Neill, Esq.

 M.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego
 the collection of any such Stamp or Similar Tax or governmental assessment and to accept for
 filing and recordation instruments or other documents pursuant to such transfers of property
 without the payment of any such Stamp or Similar Tax or governmental assessment. Such
 exemption specifically applies, without limitation, to (i) all actions, agreements and documents
 necessary to evidence and implement the provisions of and the distributions to be made under
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 this Plan, including the New Secured Debt Documents; (ii) the issuance of New Membership
 Interests; (iii) the maintenance or creation of security or any Lien as contemplated by the New
 Secured Debt Documents; (iv) the transfer by the Debtors of the Litigation Trust Assets to the
 Fuse Litigation Trust and (v) assignments executed in connection with any transaction occurring
 under the Plan.

 N.       Governing Law
         Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal law
 is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
 rights and obligations arising under this Plan shall be governed by, and construed and enforced in
 accordance with, the laws of New York, without giving effect to the principles of conflicts of law
 of such jurisdiction.

 O.       Tax Reporting and Compliance

         The Reorganized Debtors are hereby authorized, on behalf of the Debtors, to request an
 expedited determination under section 505(b) of the Bankruptcy Code of the tax liability of the
 Debtors are for all taxable periods ending after the Petition Date through, and including, the
 Effective Date.

 P.       Schedules

        All exhibits and schedules to this Plan, including the Exhibits and Plan Schedules, are
 incorporated and are a part of this Plan as if set forth in full herein.

 Q.       No Strict Construction

         This Plan is the product of extensive discussions and negotiations between and among,
 inter alia, the Debtors, the Supporting Noteholders, and their respective professionals. Each of
 the foregoing was represented by counsel of its choice who either participated in the formulation
 and documentation of, or was afforded the opportunity to review and provide comments on, this
 Plan, the Disclosure Statement, Exhibits and Plan Schedules, and the agreements and documents
 ancillary or related thereto. Accordingly, unless explicitly indicated otherwise, the general rule
 of contract construction known as “contra proferentem” or other rule of strict construction shall
 not apply to the construction or interpretation of any provision of this Plan, the Disclosure
 Statement, Exhibits, and Plan Schedules, and the documents ancillary and related thereto.

 R.       Conflicts

         In the event that a provision of the Disclosure Statement conflicts with a provision of this
 Plan, the terms of this Plan shall govern and control to the extent of such conflict.

 S.       Controlling Document

         In the event of an inconsistency between this Plan and the Plan Supplement, the terms of
 the relevant document in the Plan Supplement shall control unless otherwise specified in such
 Plan Supplement document. In the event of an inconsistency between this Plan and any other
 instrument or document created or executed pursuant to this Plan, or between this Plan and the
 Disclosure Statement, this Plan shall control. The provisions of this Plan and of the
 Confirmation Order shall be construed in a manner consistent with each other so as to effectuate
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 the purposes of each; provided, however, that if there is determined to be any inconsistency
 between any provision of this Plan and any provision of the Confirmation Order that cannot be
 so reconciled, then, solely to the extent of such inconsistency, the provisions of the Confirmation
 Order shall govern, and any such provisions of the Confirmation Order shall be deemed a
 modification of this Plan.

 T.       Confirmation Request
        The Debtors request the Bankruptcy Court confirm the Plan and that it do so, if
 applicable, pursuant to section 1129(b) of the Bankruptcy Code notwithstanding any rejection of
 the Plan by an Impaired Class.



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 Dated: April 18, 2019

                                         Respectfully submitted,

                                         ______________/s/_____________________
                                         Miguel Roggero
                                         Interim Chief Executive Officer
                                         FUSE, LLC, et al.




FILED BY:

PACHULSKI STANG ZIEHL & JONES LLP

 /s/
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Proposed Counsel for the Debtors
and Debtors-in-Possession




                  [Signature Page to Debtors’ Prepackaged Joint Plan of Reorganization]




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